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 9                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
10

11
      GIOVANNI IBARRA, derivatively on
12
      behalf of ENPHASE ENERGY, INC.,
13                                                        Case No.:
                             Plaintiff,
14

15           v.
16                                                        DEMAND FOR JURY TRIAL
      BADRINARAYANAN
17    KOTHANDARAMAN, MANDY
      YANG, STEVEN J. GOMO, JAMIE
18
      HAENGGI, BENJAMIN KORTLANG,
19    JOSEPH MALCHOW, RICHARD
      MORA, and THURMAN JOHN                              VERIFIED SHAREHOLDER
20
      RODGERS,                                            DERIVATIVE COMPLAINT
21

22
                             Defendants,

23           and
24
      ENPHASE ENERGY, INC.,
25

26
                             Nominal Defendant.

27

28

                               Verified Shareholder Derivative Complaint
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 1
                                          INTRODUCTION
 2
           Plaintiff Giovanni Ibarra (“Plaintiff”), by Plaintiff’s undersigned attorneys,
 3
     derivatively and on behalf of nominal defendant Enphase Energy, Inc. (“Enphase” or the
 4
     “Company”), files this Verified Shareholder Derivative Complaint against defendants
 5
     Badrinarayanan Kothandaraman (“Kothandaraman”), Mandy Yang (“Yang”), Steven J.
 6
     Gomo (“Gomo”), Jamie Haenggi (“Haenggi”), Benjamin Kortlang (“Kortlang”), Joseph
 7
     Malchow (“Malchow”), Richard Mora (“Mora”), and Thurman John Rodgers (“Rodgers”)
 8
     (collectively, the “Individual Defendants,” and together with Enphase, “Defendants”) for
 9
     breaches of their fiduciary duties as directors and/or officers of Enphase, unjust
10
     enrichment, abuse of control, gross mismanagement, waste of corporate assets, for
11
     violations of Sections 14(a), 10(b) and 20(a) of the Securities Exchange Act of 1934 (the
12
     “Exchange Act”), and against Defendants Kothandaraman and Yang for contribution under
13
     Sections 10(b) and 21D of the Exchange Act. As for Plaintiff’s complaint against the
14
     Individual Defendants, Plaintiff alleges the following based upon personal knowledge as
15
     to Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters, based
16
     upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys, which
17
     included, among other things, a review of the Defendants’ public documents, conference
18
     calls and announcements made by Defendants, United States Securities and Exchange
19
     Commission (“SEC”) filings, wire and press releases published by and regarding Enphase,
20
     legal filings, news reports, securities analysts’ reports and advisories about the Company,
21
     and information readily obtainable on the Internet. Plaintiff believes that substantial
22
     evidentiary support will exist for the allegations set forth herein after a reasonable
23
     opportunity for discovery.
24
                                    NATURE OF THE ACTION
25
           1.     This is a shareholder derivative action that seeks to remedy wrongdoing
26
     committed by the Individual Defendants from December 12, 2022 through April 25, 2023,
27
     both dates inclusive (the “Relevant Period”).
28
                                                    2
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 1
              2.   Enphase is a Delaware corporation located in Freemont, California. It is a
 2
     global energy technology company that produces microinverters that manage solar
 3
     generation, storage, and communication on one platform. The microinverters work
 4
     together with the Company’s innovative technology to form a “high-performing clean
 5
     energy system.”
 6
              3.   Specifically, the Company designs, develops and manufactures products that
 7
     provide home energy solutions. This includes solar micro-inverters, battery energy storage,
 8
     and E.V. charging stations that manage energy generation, energy storage, energy control,
 9
     and communications on one platform. Additional Company products include microinverter
10
     units and related accessories, an I.Q. gateway, I.Q. batteries, and the cloud based Enlighten
11
     monitoring service, along with design, proposal, permitting, and lead generation services.
12
     Solar distributors, large installers, original equipment manufacturers, strategic partners,
13
     and homeowners comprise the Company’s customer base.
14
              4.   Throughout the Relevant Period, the Individual Defendants maintained that
15
     Enphase’s expected revenue for the fiscal year ending December 31, 2023 (“Fiscal Year
16
     2023”) would fall between $700 million to $740 million for the first quarter of Fiscal Year
17
     2023 (“Q1 2023”).
18
              5.   The Individual Defendants’ claims that the Company would increase
19
     manufacturing of higher-margin IQ8 microinverters in both Europe and the U.S., roll-out
20
     gen-3 battery technology, and enter new markets bolstered their optimistic estimate for Q1
21
     2023 revenue.
22
23            6.   However, during the Relevant Period, unbeknownst to investors and the
24   public, the Individual Defendants hid material adverse facts regarding the decline in
25   Company battery shipments to California and Europe, the slowdown in the deployment
26   and adoption of batteries, the extended transition period with NEM (Net Energy Metering)
27   3.0, and the slower output of inverters manufactured by the new U.S. base manufacturing
28   lines.
                                                  3
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 1
           7.    For instance, on February 7, 2023, prior to the market opening, Enphase issued
 2
     a press release (“Q4 2022 Press Release”) reporting the Company’s financial results for the
 3
     fourth quarter and full year of the fiscal year ending December 31, 2022 (“Q4 2022”), as
 4
     well as a positive financial outlook for 2023. The press release reported a “quarterly
 5
     revenue of $724.7 million in the fourth quarter of 2022, along with 43.8% for non-GAAP
 6
     gross margin” and predicted “revenue to be within a range of $700 million to $740 million,
 7
     which includes shipments of 100 to 120 megawatt hours of Enphase IQ Batteries” in the
 8
     upcoming quarter.
 9
           8.     Later that same day, the Company held an earnings call to discuss the financial
10
     results for Q4 2022 (“Q4 2022 Earnings Call”), in which Defendants Kothandaraman and
11
     Yang were present on behalf of the Company. Throughout the call, Defendant
12
     Kothandaraman and Defendant Yang touted Enphase’s record quarterly revenue for Q1
13
     2023, claiming seasonality and a challenging macro environment did not hinder the
14
     Company’s increase in sales and revenue.
15
           9.     On April 25, 2023, the truth about Enphase’s potential growth in 2023 became
16
     known once Enphase issued a press release reporting its Q1 2023 financial results (“Q1
17
     2023 Press Release”) and weak revenue forecast for the second quarter of Fiscal Year 2023.
18
           10.    During the Relevant Period, the Individual Defendants breached their
19
     fiduciary duties by personally making and/or causing the Company to make to the investing
20
     public a series of materially false and misleading statements regarding the Company’s
21
     business, operations, and prospects. Specifically, the Individual Defendants willfully or
22
     recklessly made and/or caused the Company to make false and misleading statements that
23
     failed to disclose, inter alia, that: (1) the Company’s battery shipments to Europe and
24
     California had decreased; (2) Enphase’s battery deployment and adoption were
25
     experiencing a slowdown; (3) the Company was undergoing a longer transition period with
26
     NEM 3.0; and (4) Enphase was experiencing a slower output of inverters manufactured by
27
28
                                                  4
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 1
     the recently-created U.S. base manufacturing lines. As a result of the foregoing, the
 2
     Company’s public statements were materially false and misleading at all relevant times.
 3
           11.    During the Relevant Period, the Individual Defendants further breached their
 4
     fiduciary duties by causing Enphase to repurchase its own stock at prices that were
 5
     artificially inflated due to the foregoing misrepresentations and material omissions. Indeed,
 6
     during the Relevant Period, approximately 148,557 shares of Enphase’s common stock
 7
     were repurchased, costing the Company over $24.4 million. As the Company’s stock was
 8
     actually worth only $163.83, the price at which it was trading when markets closed on
 9
     April 26, 2023, the Company overpaid for repurchases of its own stock by approximately
10
     $114,389 in total.
11
           12.    The Individual Defendants also breached their fiduciary duties by failing to
12
     correct and/or causing the Company to fail to correct these false and misleading statements
13
     and omissions of material fact, while, during the Relevant Period, one of the Individual
14
     Defendants sold shares of Company common stock at inflated prices for combined total
15
     proceeds of approximately $965,776.
16
           13.    Additionally, in breach of their fiduciary duties, the Individual Defendants,
17
     during the Relevant Period, caused the Company to fail to maintain adequate internal
18
     controls.
19
           14.    In light of the Individual Defendants’ misconduct—which has subjected the
20
     Company, the Company’s President and Chief Executive Officer (“CEO”), and the
21
     Company’s Vice President and Chief Financial Officer (“CFO”) to two federal securities
22
     fraud class action lawsuits pending in the United States District Court for the Northern
23
     District of California (the “Securities Class Actions”), and which has further subjected the
24
     Company to the need to undertake internal investigations, the need to implement adequate
25
     internal controls, losses from the waste of corporate assets, and losses due to the unjust
26
     enrichment of the Individual Defendants who were improperly overcompensated by the
27
     Company and/or who benefitted from the wrongdoing alleged herein—the Company will
28
                                                  5
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 1
     have to expend many millions of dollars.
 2
           15.    The Company has been substantially damaged as a result of the Individual
 3
     Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.
 4
           16.    In light of the breaches of fiduciary duty engaged in by the Individual
 5
     Defendants, most of whom are the Company’s current directors, of the collective
 6
     engagement in fraud and misconduct by the Company’s directors, of the substantial
 7
     likelihood of the directors’ liability in this derivative action and of Defendant
 8
     Kothandaraman’s, and Defendant Yang’s liability in the Securities Class Actions, and of
 9
     their not being disinterested and/or independent directors, a majority of the Company’s
10
     Board of Directors (“Board”) cannot consider a demand to commence litigation against
11
     themselves on behalf of the Company with the requisite level of disinterestedness and
12
     independence.
13
                                  JURISDICTION AND VENUE
14
           17.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
15
     because Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act
16
     (15 U.S.C. § 78n(a)(1)), Rule 14a-9 of the Exchange Act (17 C.F.R. § 240.14a-9), Sections
17
     10(b) and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b), 78t(a) and 78t-1), SEC Rule
18
     10b-5 (17 C.F.R. § 240.10b-5) promulgated thereunder, and Section 21D of the Exchange
19
     Act (15 U.S.C. § 78u-4(f)). Plaintiff’s claims also raise a federal question pertaining to the
20
     claims made in the Securities Class Actions based on violations of the Exchange Act.
21
           18.    This Court has supplemental jurisdiction over Plaintiff’s state law claims
22
     pursuant to 28 U.S.C. § 1367(a).
23
           19.    This derivative action is not a collusive action to confer jurisdiction on a court
24
     of the United States that it would not otherwise have.
25
           20.    Venue is proper in this District because Enphase’s principal executive offices
26
     are in this District. In addition, a substantial portion of the transactions and wrongs
27
     complained of herein occurred in this District, the Defendants have conducted business in
28
                                                   6
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 1
     this District, and Defendants’ actions have had an effect in this District.
 2
                                              PARTIES
 3
           Plaintiff
 4
           21.    Plaintiff is a current shareholder of Enphase. Plaintiff has continuously held
 5
     Enphase common stock since first purchasing the stock on August 31, 2022.
 6
           Nominal Defendant Enphase
 7
           22.    Enphase is a Delaware corporation with its headquarters at 47281 Bayside
 8
     Parkway, Fremont, California 94538. Enphase’s common stock trades on the Nasdaq
 9
     Global Market (“NASDAQ”) under the ticker symbol “ENPH.”
10
           Defendant Kothandaraman
11
           23.    Defendant Kothandaraman has served as President and CEO of Enphase and
12
     as a Company director since September 2017. Previously, he served as the Company’s
13
     Chief Operating Officer (“COO”) from April 2017 to September 2017. According to the
14
     Schedule 14A the Company filed with the SEC on April 4, 2024 (the “2024 Proxy
15
     Statement”), as of March 19, 2024, Defendant Kothandaraman beneficially owned
16
     1,584,696 shares of the Company’s common stock, representing 1.2% of the Company’s
17
     total outstanding stock. Given that the price per share of the Company’s common stock at
18
     the close of trading on March 19, 2024 was $109.16, Defendant Kothandaraman owned
19
     approximately $172,985,415 worth of Enphase stock as of that date.
20
           24.    For Fiscal Year 2023, Defendant Kothandaraman received $19,527,534 in
21
     compensation from the Company, including $450,000 in salary, $18,804,672 in stock
22
     awards, $270,750 in non-equity incentive plan compensation, and $2,112 in all other
23
     compensation.
24
           25.    The 2024 Proxy Statement stated the following about Defendant
25
     Kothandaraman:
26
           Key Skills and Qualifications
27
28
                                                   7
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 1         • Mr. Kothandaraman brings to the Board strong technical, operational,
 2           strategy and leadership experience during his 21-year career at Cypress
             Semiconductor and his tenure at Enphase.
 3
           Career Highlights
 4
           • Mr. Kothandaraman, 52, joined Enphase in April 2017 as Chief Operating
 5           Officer (“COO”), before being appointed President and CEO and a
             member of the Board in September 2017. Prior to Enphase, Mr.
 6
             Kothandaraman served as Executive Vice President of the Data
 7           Communications Division of Cypress Semiconductor Corporation, a
             semiconductor design and manufacturing company, from April 2011 to
 8
             September 2016. He started his career with Cypress Semiconductor in
 9           1995 and worked in process technology development and chip design
10           before becoming Vice President of the Asynchronous SRAM Business in
             2008. Mr. Kothandaraman was subsequently promoted to executive vice
11           president of Cypress’s Data Communications Division in November 2011
12           and spent the next five years building the USB 3.0, USB-C and the Internet
             of Things businesses. He also served as the Executive Director of Cypress
13           Semiconductor Technology India Private Limited from 2012 to 2016.
14         • Mr. Kothandaraman received his bachelor of technology degree from IIT
15           Madras and a master of science degree in materials science from the
             University of California, Berkeley. Mr. Kothandaraman attended the
16           Stanford Executive Program in 2008 and holds eight U.S. patents.
17
           Defendant Yang
18         26.   Defendant Yang has served as the Company’s Vice President and CFO since
19   February 2022. Previously, Defendant Yang served as the Company’s Vice President and
20   Chief Accounting Officer from October 2018 to February 2022. According to the 2024
21   Proxy Statement, as of March 19, 2024, Defendant Yang beneficially owned 66,093 shares
22   of the Company’s common stock. Given that the price per share of the Company’s common
23   stock at the close of trading on March 19, 2024 was $109.16, Defendant Yang owned
24   approximately $7,214,712 worth of Enphase stock as of that date.
25         27.   For Fiscal Year 2023, Defendant Yang received $6,656,267 in compensation
26   from the Company. This included $363,125 in salary, $6,111,519 in stock awards,
27   $176,703 in non-equity incentive plan compensation, and $4,920 in all other compensation.
28
                                                8
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 1
           28.    The 2024 Proxy Statement stated the following about Defendant Yang:
 2
           Ms. Yang, 48, has served as our Vice President and Chief Accounting Officer
 3         from October 2018 until her promotion to our Vice President and CFO in
           February 2022. Ms. Yang was appointed Executive Vice President in January
 4
           2024. Ms. Yang has over 20 years of accounting, financial reporting, treasury,
 5         and tax experience. Previously, she was senior director and group controller
           at Tesla, Inc. from February 2017 to September 2018. Prior to that, she served
 6
           in various positions at SunPower Corporation, including as Senior Director
 7         and Division Controller of the global distributed generation division, and
           concurrently as the Chief Accounting Officer and Corporate Controller of
 8
           8point3 Energy Partners. Before that, she served in a variety of senior finance
 9         positions at Spansion Inc. Earlier in her career, Ms. Yang was an internal
10         auditor at SYNNEX Corporation and an auditor with Deloitte & Touche. Ms.
           Yang earned her bachelor of arts degree in international business from
11         National Taiwan University and a masters of business administration degree
12         in finance and accounting from the University of Illinois at Urbana-
           Champaign. She is a Certified Public Accountant in California and a
13         Chartered Financial Analyst.
14         Defendant Gomo
15         29.    Defendant Gomo has served as a Company director since March 2011. He has
16   also served as Chair of the Board since October 2022 and serves as Chair of the Audit
17   Committee. According to the 2024 Proxy Statement, as of March 19, 2024, Defendant
18   Gomo beneficially owned 138,773 total shares of the Company’s common stock. Given
19   that the price per share of the Company’s common stock at the close of trading on March
20   19, 2024 was $109.16, Defendant Gomo owned approximately $15,148,460 worth of
21   Enphase stock as of that date.
22         30.    For Fiscal Year 2023, Defendant Gomo received $374,991 in compensation
23   from the Company. This included $105,000 in fees earned or paid in cash and $269,991 in
24   stock awards.
25         31.    The 2024 Proxy Statement stated the following about Defendant Gomo:
26         Key Skills and Qualifications
27         • Mr. Gomo brings to the Board valuable financial and business expertise
             through his years of experience as a chief financial officer with publicly
28
                                                 9
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 1               traded companies. Mr. Gomo provides an important role in leading the
 2               Board’s activities on financial and auditing matters, as well as
                 collaborating with our independent registered public accounting firm and
 3               management team in these areas.
 4         Career Highlights
 5         • Mr. Gomo, 72, served as Executive Vice President of Finance and CFO of
             NetApp Inc., a computer storage and data management company, from
 6
             October 2004 until December 2011, and as Senior Vice President of
 7           Finance and CFO from August 2002 until October 2004. From November
             2000 to April 2002, Mr. Gomo served as CFO of Gemplus International
 8
             S.A., a smart card provider, and from February 1998 until August 2000,
 9           Mr. Gomo served as CFO of Silicon Graphics, Inc., a high-performance
             computer and computer graphics company. Prior to February 1998, Mr.
10
             Gomo held various finance, financial management, manufacturing, and
11           general management positions at Hewlett-Packard Company, an
             information technology company.
12
13         • Mr. Gomo holds a bachelor of science degree in business administration
             from Oregon State University and a master of business administration
14           degree from Santa Clara University.
15
           • From February 2005 to May 2017, Mr. Gomo served on the Board of
16           Directors of SanDisk Corporation, a designer, developer and manufacturer
17           of flash storage solutions. From December 2020 through July 2021, Mr.
             Gomo served on the Board of Directors of Rodgers Silicon Valley
18           Acquisition Corp, a special purpose acquisition company that successfully
19           completed a business combination with Enovix Corporation.

20         Current Public Company Boards
21         • Nutanix, Inc. – since June 2015
           • Micron Technology, Inc. – since October 2018
22
           Defendant Haenggi
23
           32.      Defendant Haenggi has served as a Company director since August 2020. She
24
     also serves as a member of the Nominating and Corporate Governance Committee.
25
     According to the 2024 Proxy Statement, as of March 19, 2024, Defendant Haenggi
26
     beneficially owned 7,602 total shares of the Company’s common stock. Given that the
27
     price per share of the Company’s common stock at the close of trading on March 19, 2024
28
                                                  10
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 1
     was $109.16, Defendant Haenggi owned approximately $829,834 worth of Enphase stock
 2
     as of that date.
 3
            33.    For Fiscal Year 2023, Defendant Haenggi received $314,852 in compensation
 4
     from the Company. This included $65,000 in fees earned or paid in cash and $249,852 in
 5
     stock awards.
 6
            34.    The 2024 Proxy Statement stated the following about Defendant Haenggi:
 7
            Key Skills and Qualifications
 8
            • Ms. Haenggi’s extensive experience in consumer and commercial sales,
 9            marketing and customer experience brings a valuable perspective to the
              Board.
10
            Career Highlights
11
            • Ms. Haenggi, 54, has served as the President of ADT Solar, a division of
12            ADT Security Services, a smart-home security provider, since December
13            2022. She previously served as the Executive Vice President, COO at ADT
              Solar, overseeing sales, marketing contract center, field and business
14            operations, HR, IT and administration. Prior to that, Ms. Haenggi was the
15            Executive Vice President, Chief Customer Officer at ADT Security
              Services from July 2018 to March 2022. She joined ADT in 2016 as Senior
16            Vice President, Chief Sales and Marketing Officer and had previously been
17            with the company from 1998 to 2006 with progressive senior leadership
              roles in commercial sales and marketing, and domestic and international
18            sales and marketing. From 2010 to 2016, Ms. Haenggi was the Chief
19            Customer Experience Officer at Protection 1, Inc., a home security systems
              company. Previously, she was at Vonage, Inc. from 2006 to 2010 as the
20            Chief Marketing Officer and Vice President of Customer Experience.
21            Earlier in her career, Ms. Haenggi held various sales and marketing roles
              at Holmes Protection Group and National Guardian Corporation.
22
            • Ms. Haenggi earned a bachelor of arts degree in international relations and
23
              Japanese from the University of Minnesota and received an honorary
24            doctorate from Taylor University.
25          Defendant Kortlang
26          35.    Defendant Kortlang has served as a Company director since May 2010. He
27   also serves as a Chair of the Nominating and Corporate Governance Committee and as a
28   member of the Audit Committee. According to the 2024 Proxy Statement, as of March 19,
                                                 11
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 1
     2024, Defendant Kortlang beneficially owned 209,443 total shares of the Company’s
 2
     common stock. Given that the price per share of the Company’s common stock at the close
 3
     of trading on March 19, 2024 was $109.16, Defendant Kortlang owned approximately
 4
     $22,862,798 worth of Enphase stock as of that date.
 5
           36.   For Fiscal Year 2023, Defendant Kortlang received $334,852 in compensation
 6
     from the Company. This included $85,000 in fees earned or paid in cash and $249,852 in
 7
     stock awards.
 8
           37.   The 2024 Proxy Statement stated the following about Defendant Kortlang:
 9
           Key Skills and Qualifications
10
           • Mr. Kortlang’s work as a venture capitalist with a focus on growth-stage
11           investing in alternative energy technologies provides a valuable industry
             perspective to the Board. Additionally, Mr. Kortlang’s investing and
12
             business experience also provides the Board with a valuable perspective
13           on acquisitions and building alternative energy businesses.
14         Career Highlights
15         • Mr. Kortlang, 48, has been a Partner with G2VP, LLC, a venture capital
             firm since August 2016. From February 2008 to April 2020, Mr. Kortlang
16           was a Partner with Kleiner Perkins Caufield & Byers, a venture capital
17           firm. From July 2000 to January 2008, Mr. Kortlang worked with
             Goldman, Sachs & Co., co-heading Goldman’s Alternative Energy
18           Investing business. From June 2005 to February 2008, Mr. Kortlang was a
19           Vice President within Goldman’s Special Situations Group, before which
             he was a Vice President in Goldman’s investment banking group focusing
20           on Industrials and Natural Resources. From January 1996 to August 1998,
21           Mr. Kortlang was an Associate with A.T. Kearney, Inc., a global
             management consulting firm where he focused on strategic and operations
22           consulting in the energy, manufacturing, packaging, transportation and
23           communications industries. From February 1993 to July 1994, Mr.
             Kortlang was a Business Analyst at National Australia Bank in strategic
24           planning and macroeconomic forecasting. Mr. Kortlang served on the
25           Board of Directors of Luminar Technologies, Inc. from 2019 until 2021.
26         • Mr. Kortlang holds a bachelor of business degree in economics and finance
             from Royal Melbourne Institute of Technology, a bachelor of commerce
27
             and an honors degree in econometrics from University of Melbourne and
28
                                                12
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 1                 a master of business administration degree from the University of
 2                 Michigan.
             Defendant Malchow
 3
             38.     Defendant Malchow has served as a Company director since February 2020.
 4
     He previously served as a consultant to Enphase from April 2019 to April 2022. According
 5
     to the 2024 Proxy Statement, as of March 19, 2024, Defendant Malchow beneficially
 6
     owned 56,616 total shares of the Company’s common stock. Given that the price per share
 7
     of the Company’s common stock at the close of trading on March 19, 2024 was $109.16,
 8
     Defendant Malchow owned approximately $6,180,203 worth of Enphase stock as of that
 9
     date.
10
             39.     For Fiscal Year 2023, Defendant Malchow received $309,852 in
11
     compensation from the Company. This included $60,000 in fees earned or paid in cash and
12
     $249,852 in stock awards.
13
             40.     The 2024 Proxy Statement stated the following about Defendant Malchow:
14
             Key Skills and Qualifications
15
             • Mr. Malchow brings to the Board many years of entrepreneurial and
16
               investment experience, with expertise in scaled infrastructure, software-
17             driven businesses, data security and machine learning.
18           Career Highlights
19           • Mr. Malchow, 38, has served as the founding Partner at HNVR
               Technology Investment Management, a venture capital firm, and has been
20             investing in technology companies since 2013. In 2011, he co-founded
21             Publir LLC, a cloud software company. Mr. Malchow is a member of the
               board of the National Civic Arts Society in Washington, D.C. From
22             December 2020 through July 2021, he served on the Board of Directors of
23             Rodgers Silicon Valley Acquisition Corp, a special purpose acquisition
               company that successfully completed a business combination with Enovix
24             Corporation, a lithium-ion battery company. From January 2021 to January
25             2023, Mr. Malchow served on the Board of Directors of Archaea Energy
               Inc., a leading producer of renewable gas. Mr. Malchow provided
26             consulting services to Enphase from April 2019 until April 2022. Mr.
27             Malchow is also involved with Stanford University’s Freeman-Spogli
28
                                                  13
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 1               Institute and Hoover Institution, and with The Federalist Society in
 2               Washington, D.C.

 3         • Mr. Malchow holds a bachelor of arts degree from Dartmouth College and
             a juris doctorate degree from Stanford University.
 4
           Current Public Company Boards
 5
            • Enovix Corporation (formerly Rodgers Silicon Valley Acquisition Corp.)
 6            - since June 2023
 7
           Defendant Mora
 8
           41.     Defendant Mora has served as a Company director since February 2014. He
 9
     also serves as a member of the Compensation Committee and as a member of the Audit
10
     Committee. According to the 2024 Proxy Statement, as of March 19, 2024, Defendant
11
     Mora beneficially owned 3,126 total shares of the Company’s common stock. Given that
12
     the price per share of the Company’s common stock at the close of trading on March 19,
13
     2024 was $109.16, Defendant Mora owned approximately $341,234 worth of Enphase’s
14
     stock as of that date.
15
           42.     For Fiscal Year 2023, Defendant Mora received $334,852 in compensation
16
     from the Company. This included $85,000 in fees earned or paid in cash and $249,852 in
17
     stock awards.
18
           43.     During the Relevant Period, while the Company’s stock price was artificially
19
     inflated and before the scheme was exposed, Defendant Mora made the following sales of
20
     Company common stock:
21
                     Date            Number of             Avg.             Proceeds
22                                    Shares            Price/Share
23               March 3, 2023         4,500              $214.62           $965,776

24   Thus, in total, before the fraud was exposed, he sold 4,500 shares of Company common
25   stock on inside information, for which she received approximately $965,776 in proceeds.
26   His insider sales, made with knowledge of material nonpublic information before the
27   material misstatements and omissions were exposed, demonstrate his motive in facilitating
28   and participating in the scheme.
                                                 14
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 1
           44.   The 2024 Proxy Statement stated the following about Defendant Mora:
 2
           Key Skills and Qualifications
 3
           • Mr. Mora’s expertise in process and productivity improvements at the
 4           corporate, regional and country level provides a valuable perspective to the
             Board, as well as his years of experience with respect to emerging
 5
             companies, risk management, team building and international operations.
 6         Career Highlights
 7         • Mr. Mora, 59, served as the CEO of Landis+Gyr, an energy management
 8           company, from April 2017 through April 2020. Prior to that, Mr. Mora
             served as the COO of Landis+Gyr, from January 2014 to April 2017. Mr.
 9           Mora served as the President and CEO of Landis+Gyr Americas where he
10           had responsibilities for operations in both North and South America, from
             August 2011 to January 2014. He served as the President and CEO of
11           Landis+Gyr North America, from August 2008 to August 2011.
12
           • Mr. Mora holds a bachelor of arts degree in economics from Stanford
13           University
14
           Defendant Rodgers
15
           45.   Defendant Rodgers has served as a Company director since January 2017. He
16
     also serves as Chair of the Compensation Committee and as a member of the Nominating
17
     and Corporate Governance Committee. According to the 2024 Proxy Statement, as of
18
     March 19, 2024, Defendant Rodgers beneficially owned 2,398,251 total shares of the
19
     Company’s common stock. Given that the price per share of the Company’s common stock
20
     at the close of trading on March 19, 2024 was $109.16, Defendant Rodgers owned
21
     approximately $261,793,079 worth of Enphase stock as of that date.
22
           46.   For Fiscal Year 2023, Defendant Rodgers received $334,852 in compensation
23
     from the Company. This included $85,000 in fees earned or paid in cash and $249,852 in
24
     stock awards.
25
           47.   The 2024 Proxy Statement stated the following about Defendant Rodgers:
26
           Key Skills and Qualifications
27
28
                                                15
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 1         • Mr. Rodger’s brings 35 years of public company CEO experience to the
 2           Board. Mr. Rodgers provides an important role in leading the strategic
             vision of the company.
 3
           Career Highlights
 4
           • Mr. Rodgers, 76, founded Cypress Semiconductor Corporation in 1982
 5           and served as the President, CEO and as a member of the Board of
             Directors until April 2017. From September 2020 to July 2021, he served
 6
             as the Chairman of the Board of Directors and CEO of Rodgers Silicon
 7           Valley Acquisition Corp., a special purpose acquisition company, that
             successfully completed a business combination with Enovix Corporation
 8
             in July 2021, and he continues to serve as the Chairman of the Board of
 9           Directors of Enovix Corporation. From January 2017 to January 2023, Mr.
10           Rodgers also served on the Board of Directors of FTC Solar, Inc., a solar
             tracker company. From May 2002 to May 2011, Mr. Rodgers served as a
11           member of the Board of Directors of SunPower Corporation, an energy
12           company. From June 2004 through December 2012 Mr. Rodgers was a
             member of the board of trustees of Dartmouth College.
13
           • Mr. Rodgers holds a bachelor of science degree in physics and chemistry
14           from Dartmouth. Mr. Rodgers holds a master of science degree and a Ph.D.
15           in electrical engineering from Stanford University. At Stanford, Mr.
             Rodgers invented, developed and patented VMOS technology.
16
17         Current Public Company Boards
           • Enovix Corporation (formerly Rodgers Silicon Valley Acquisition Corp.)
18
             - since September 2020
19         • Complete Solaria - since November 2022
20               FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS
21         48.    By reason of their positions as officers, directors, and/or fiduciaries of
22   Enphase and because of their ability to control the business and corporate affairs of
23   Enphase, the Individual Defendants owed Enphase and its shareholders fiduciary
24   obligations of trust, loyalty, good faith, and due care, and were and are required to use their
25   utmost ability to control and manage Enphase in a fair, just, honest, and equitable manner.
26   The Individual Defendants were and are required to act in furtherance of the best interests
27   of Enphase and its shareholders so as to benefit all shareholders equally.
28
                                                   16
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 1
           49.    Each director and officer of the Company owes to Enphase and its
 2
     shareholders the fiduciary duty to exercise good faith and diligence in the administration
 3
     of the Company and in the use and preservation of its property and assets and the highest
 4
     obligations of fair dealing.
 5
           50.    The Individual Defendants, because of their positions of control and authority
 6
     as directors and/or officers of Enphase, were able to and did, directly and/or indirectly,
 7
     exercise control over the wrongful acts complained of herein.
 8
           51.    To discharge their duties, the officers and directors of Enphase were required
 9
     to exercise reasonable and prudent supervision over the management, policies, controls,
10
     and operations of the Company.
11
           52.    Each Individual Defendant, by virtue of their position as a director and/or
12
     officer, owed to the Company and to its shareholders the highest fiduciary duties of loyalty,
13
     good faith, and the exercise of due care and diligence in the management and
14
     administration of the affairs of the Company, as well as in the use and preservation of its
15
     property and assets. The conduct of the Individual Defendants complained of herein
16
     involves a knowing and culpable violation of their obligations as directors and officers of
17
     Enphase, the absence of good faith on their part, or a reckless disregard for their duties to
18
     the Company and its shareholders that the Individual Defendants were aware or should
19
     have been aware posed a risk of serious injury to the Company. The conduct of the
20
     Individual Defendants who were also officers and directors of the Company has been
21
     ratified by the remaining Individual Defendants who collectively comprised the
22
     Company’s Board at all relevant times.
23
           53.    As senior executive officers and/or directors of a publicly-traded company
24
     whose common stock was registered with the SEC pursuant to the Exchange Act and traded
25
     on the NASDAQ, the Individual Defendants had a duty to prevent and not to effect the
26
     dissemination of inaccurate and untruthful information with respect to the Company’s
27
     financial condition, performance, growth, operations, financial statements, business,
28
                                                  17
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 1
     products, management, earnings, internal controls, and present and future business
 2
     prospects, including the dissemination of false information regarding the Company’s
 3
     business, prospects, and operations, and had a duty to cause the Company to disclose in its
 4
     regulatory filings with the SEC all those facts described in this complaint that it failed to
 5
     disclose, so that the market price of the Company’s common stock would be based upon
 6
     truthful and accurate information. Further, they had a duty to ensure the Company remained
 7
     in compliance with all applicable laws.
 8
           54.    To discharge their duties, the officers and directors of the Company were
 9
     required to exercise reasonable and prudent supervision over the management, policies,
10
     practices, and internal controls of the Company. By virtue of such duties, the officers and
11
     directors of Enphase were required to, among other things:
12
                  (a)    ensure that the Company was operated in a diligent, honest, and prudent
13
     manner in accordance with the laws and regulations of Delaware, California, and the
14
     United States, and pursuant to Enphase’s corporate governance and applicable codes of
15
     conduct and/or ethics;
16
                  (b)    conduct the affairs of the Company in an efficient, business-like manner
17
     so as to make it possible to provide the highest quality performance of its business, to avoid
18
     wasting the Company’s assets, and to maximize the value of the Company’s stock;
19
                  (c)    remain informed as to how Enphase conducted its operations, and, upon
20
     receipt of notice or information of imprudent or unsound conditions or practices, to make
21
     reasonable inquiry in connection therewith, and to take steps to correct such conditions or
22
     practices;
23
                  (d)    establish and maintain systematic and accurate records and reports of
24
     the business and internal affairs of Enphase and procedures for the reporting of the business
25
     and internal affairs to the Board and to periodically investigate, or cause independent
26
     investigation to be made of, said reports and records;
27
                  (e)    maintain and implement an adequate and functioning system of internal
28
                                                  18
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 1
     legal, financial, and management controls, such that Enphase’s operations would comply
 2
     with all applicable laws and Enphase’s financial statements and regulatory filings filed with
 3
     the SEC and disseminated to the public and the Company’s shareholders would be
 4
     accurate;
 5
                  (f)    exercise reasonable control and supervision over the public statements
 6
     made by the Company’s officers and employees and any other reports or information that
 7
     the Company was required by law to disseminate;
 8
                  (g)    refrain from unduly benefiting themselves and other Company insiders
 9
     at the expense of the Company; and
10
                  (h)    examine and evaluate any reports of examinations, audits, or other
11
     financial information concerning the financial affairs of the Company and to make full and
12
     accurate disclosure of all material facts concerning, inter alia, each of the subjects and
13
     duties set forth above.
14
           55.    Each of the Individual Defendants further owed to Enphase and the
15
     shareholders the duty of loyalty requiring that each favor Enphase’s interest and that of its
16
     shareholders over their own while conducting the affairs of the Company and refrain from
17
     using their position, influence or knowledge of the affairs of the Company to gain personal
18
     advantage.
19
           56.    At all times relevant hereto, the Individual Defendants were the agents of each
20
     other and of Enphase and were at all times acting within the course and scope of such
21
     agency.
22
           57.    Because of their advisory, executive, managerial, directorial, and controlling
23
     positions with Enphase, each of the Individual Defendants had access to adverse, nonpublic
24
     information about the Company.
25
           58.    The Individual Defendants, because of their positions of control and authority,
26
     were able to and did, directly or indirectly, exercise control over the wrongful acts
27
     complained of herein, as well as the contents of the various public statements issued by
28
                                                  19
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 1
     Enphase.
 2
         CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION
 3
           59.    In committing the wrongful acts alleged herein, the Individual Defendants
 4
     have pursued, or joined in the pursuit of, a common course of conduct, and have acted in
 5
     concert with and conspired with one another in furtherance of their wrongdoing. The
 6
     Individual Defendants caused the Company to conceal the true facts as alleged herein. The
 7
     Individual Defendants further aided and abetted and/or assisted each other in breaching
 8
     their respective duties.
 9
           60.    The purpose and effect of the conspiracy, common enterprise, and/or common
10
     course of conduct was, among other things, to: (i) facilitate and disguise the Individual
11
     Defendants’ violations of law, including breaches of fiduciary duty, unjust enrichment,
12
     waste of corporate assets, gross mismanagement, abuse of control, and violations of the
13
     Exchange Act; (ii) conceal adverse information concerning the Company’s operations,
14
     financial condition, legal compliance, future business prospects, and internal controls; and
15
     (iii) artificially inflate the Company’s stock price.
16
           61.    The Individual Defendants accomplished their conspiracy, common
17
     enterprise, and/or common course of conduct by causing the Company purposefully or
18
     recklessly to conceal material facts, fail to correct such misrepresentations, and violate
19
     applicable laws. In furtherance of this plan, conspiracy, and course of conduct, the
20
     Individual Defendants collectively and individually took the actions set forth herein.
21
     Because the actions described herein occurred under the authority of the Board, each of the
22
     Individual Defendants who is a director of Enphase was a direct, necessary, and substantial
23
     participant in the conspiracy, common enterprise, and/or common course of conduct
24
     complained of herein.
25
           62.    Each of the Individual Defendants aided and abetted and rendered substantial
26
     assistance in the wrongs complained of herein. In taking such actions to substantially assist
27
     the commission of the wrongdoing complained of herein, each of the Individual Defendants
28
                                                   20
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 1
     acted with actual or constructive knowledge of the primary wrongdoing, either took direct
 2
     part in, or substantially assisted in the accomplishment of that wrongdoing, and was or
 3
     should have been aware of his or her overall contribution to and furtherance of the
 4
     wrongdoing.
 5
           63.     At all relevant times hereto, each of the Individual Defendants was the agent
 6
     of each of the other Individual Defendants and of Enphase and was at all times acting
 7
     within the course and scope of such agency.
 8
          ENPHASE’S CODE OF CONDUCT AND CORPORATE GOVERNANCE
 9
10         Enphase’s Code of Conduct
11         64.     Enphase’s Code of Conduct (the “Code of Conduct”) represents that it applies
12   to all of Enphase’s and its subsidiaries’ employees, directors, and officers, (collectively
13   “Enphase Representatives”), as well as to suppliers, vendors, consultants and business
14   partners (collectively, “Enphase Suppliers”) of Enphase and its subsidiaries.
15         65.     The Code of Conduct states that the Company aims to “conduct business with
16   integrity and to follow ethical and legal business practices worldwide.”
17         66.     Under the heading “Compliance with Laws, Rules, and Regulations,” the
18   Code of Conduct states:
19         Enphase Representatives must respect and obey the laws of the cities, states
20         and countries in which Enphase operates. Enphase Representatives should
           strive to understand the legal and regulatory requirements applicable to their
21         business units and areas of responsibility and should seek advice from
22         managers or other appropriate individuals in case of any uncertainty.
           Violation of laws, rules and regulations may subject you, as well as Enphase,
23         to civil and criminal penalties. Each Enphase Supplier must respect, obey and
24         comply with the laws applicable to its business activities.

25         67.     In a section titled “Accurate Financial Records,” the Code of Conduct states,
26   in relevant part:
27         Enphase’s financial records must be accurate and complete in all material
           respects. They must be in compliance with laws and accounting practices. The
28
                                                  21
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 1         Finance department is responsible for preparing and reporting Enphase’s
 2         financial results, but those financial statements are the result of activities,
           transactions, entries and documents prepared throughout Enphase by many
 3         people. Enphase Representatives must make sure all such supporting
 4         transactions and documents are complete, accurate, and truthful. Enphase
           Suppliers will use commercially reasonably efforts to assist Enphase with its
 5         compliance objectives under this section. No Enphase Representative or
 6         Enphase Supplier may take or authorize any action that would cause our
           financial records or financial disclosure to fail to comply with generally
 7         accepted accounting principles, the rules and regulations of the Securities and
 8         Exchange Commission (“SEC”), and other laws, rules and regulations, or take
           any action to fraudulently induce, coerce, manipulate or mislead the Finance
 9         department or our independent auditors. No Enphase Representative or
10         Enphase Supplier should knowingly allow Enphase to make any false or
           misleading statement or omit information necessary to make any of Enphase’s
11         statements and reports accurate.
12
           68.    Enphase addresses “Insider Trading” within the Code of Conduct in detail,
13
     stating:
14
           All material non-public information about Enphase, our vendors, business
15         partners and customers should be considered confidential, and Enphase
           Representatives and Enphase Suppliers who have access to such information
16
           should use it only for legitimate Enphase business. The use of any material,
17         non-public information to buy stock, or “tip” others, is unethical and illegal.
18
           69.    Under the section titled “Avoid Conflicts of Interest” the Code of Conduct
19
     addresses disclosures of conflicts of interest, stating:
20
           A “conflict of interest” exists when a person’s private interest interferes in any
21
           way with the interests of Enphase. Conflicts of interest may arise when an
22         Enphase Representative, or a member of their family, receives improper
           personal benefits as a result of their position with Enphase. A conflict of
23
           interest can also arise when an Enphase Representative takes actions or has
24         interests that make it difficult to perform their work objectively and
           effectively. Conflicts of interest are prohibited, unless specially approved by
25
           the Compliance Officer. If you have any questions about a potential conflict
26         of interest or if you become aware of an actual or potential conflict of interest,
27         you should discuss the matter with your manager, HR or Legal. Managers may
           not authorize conflicts of interest or make determinations as to whether a
28         problematic conflict of interest exists without first seeking the approval of the
                                                   22
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 1         Compliance Officer. If your manager is involved in the potential or actual
 2         conflict of interest, you should contact HR, Legal, or use the Whistleblower
           Hotline. Any conflict of interest situation involving an executive officer or
 3         director, including all loans and guarantees by Enphase involving persons
 4         covered by this Code, also requires the authorization of the Audit Committee
           of the Board of Directors (“Audit Committee”).
 5
           70.   The Code of Conduct addresses Confidentiality under the heading,
 6
     “Confidential Information,” stating:
 7
           Much of the information to which Enphase Representatives have access to at
 8         Enphase is confidential, privileged, or proprietary. Such information should
           not be disclosed to individuals outside of Enphase, except where required for
 9
           company-related business and covered by the terms of a Nondisclosure
10         Agreement with the receiving individual or entity. In the course of serving our
11         customers, Enphase Representatives may also learn confidential or
           proprietary information about them, and it is equally important that Enphase
12         Representatives guard against the disclosure of their confidential information
13         to others. Competitive information must be gathered with care, and not be
           acquired in ways that are unethical or illegal.
14
15         71.    The Code of Conduct addresses Company assets under the heading, “Use of

16   Company Assets and Technological Resources” stating, in relevant part:

17         All Enphase Representatives and Enphase Suppliers (to the extent applicable)
18         are expected to protect our assets and ensure their efficient use. Theft,
           carelessness and waste have a direct impact on our profitability. Although
19         reasonable personal use of computer equipment is allowed, as a general rule
20         all Enphase property, facilities and products, are expected to be used only for
           legitimate business purposes.
21
22         72.   Under the section titled “Approvals or Waivers,” the Code of Conduct states:
23         Any approval of conduct prohibited by this Code or any waiver of provisions
24         of this Code requires approval of the Compliance Officer. With respect to
           Enphase’s executive officers or directors, any such approval or waiver also
25         requires authorization by the Audit Committee and may also require public
26         disclosure under SEC rules.
           Enphase’s Corporate Governance Guidelines
27
           73.   The Company also maintains Corporate Governance Guidelines (the
28
                                                 23
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 1
     “Governance Guidelines”). Under the section titled “Role of the Board of Directors” the
 2
     Governance Guidelines state:
 3
           The Board is selected by the stockholders to provide oversight of, and
 4         strategic guidance to, senior management. The core responsibility of a Board
           member is to fulfill his or her fiduciary duties of care and loyalty and
 5
           otherwise to exercise his or her business judgment in the best interests of the
 6         Company and its stockholders. Service on the Board requires significant time
           and attention on the part of directors. More specifically, the Board has
 7
           responsibilities to review, approve and monitor fundamental financial and
 8         business strategies and major corporate actions, assess major risks facing the
           Company and consider ways to address those risks, select and oversee
 9
           management and determine its composition and oversee the establishment and
10         maintenance of processes and conditions to maintain the integrity of the
11         Company. Directors must participate in Board meetings, review relevant
           materials, serve on committees and prepare for meetings and discussions with
12         management. Directors are expected to maintain an attitude of constructive
13         involvement and oversight; they are expected to ask relevant, incisive and
           probing questions and require honest and accurate answers. Directors must act
14         with integrity and are expected to demonstrate a commitment to the Company,
15         its values and its business and to long-term stockholder value. Directors are
           encouraged to attend the Company’s annual meeting of stockholders, either
16         in person or telephonically.
17         74.    The Governance Guidelines outline the functions of each committee within
18   the section titled “Board Committees.” Under the sub-heading “Committee Functions” the
19   Governance Guidelines include information regarding the Audit Committee, stating the
20   following, in relevant part:
21         Audit Committee. The Audit Committee oversees the Company’s corporate
22         accounting and financial reporting process. For this purpose, the Audit
           Committee performs several functions. The Audit Committee evaluates the
23         performance of and assesses the qualifications of the independent auditors;
24         determines and approves the scope of the engagement and compensation of
           the independent auditors; determines whether to retain or terminate the
25         existing independent auditors or to appoint and engage new independent
26         auditors; reviews and approves the retention of the independent auditors to
           perform any proposed permissible non-audit services; monitors the rotation of
27         partners of the independent auditors on the Company’s audit engagement
28         team as required by law; confers with management and the independent
                                                 24
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 1         auditors regarding the effectiveness of internal controls over financial
 2         reporting; establishes procedures, as required under applicable law, for the
           receipt, retention and treatment of complaints received by the Company
 3         regarding accounting, internal accounting controls or auditing matters and the
 4         confidential and anonymous submission by employees of concerns regarding
           questionable accounting or auditing matters; reviews the financial statements
 5         to be included in the Company’s Annual Report on Form 10-K; and discusses
 6         with management and the independent auditors the results of the annual audit
           and the results of the Company’s quarterly financial statements.
 7
 8         75.    Under the same sub-heading, the Governance Guidelines specifically address
 9   the function of the Compensation Committee, stating the following:
10         The Compensation Committee reviews and approves the overall
11         compensation strategy and policies for the Company. The Compensation
           Committee reviews and approves corporate performance goals and objectives
12         relevant to the compensation of the Company’s executive officers and other
13         senior management; reviews and approves or recommends to the Board for
           approval the compensation and other terms of employment of the Company’s
14         Chief Executive Officer; reviews and approves or recommends to the Board
15         for approval the compensation and other terms of employment of the other
           executive officers and senior members of management; and administers the
16         Company’s equity incentive and stock purchase plans, pension and profit
17         sharing plans, stock bonus plans, deferred compensation plans and other
           similar programs.
18
19         76.    Within      the     same        section,      but    under     the       sub-heading
20   “Committee Charters,” the Governance Guidelines specifically address committee
21   accountability, stating, in relevant part:
22         All standing committees will operate pursuant to a written charter, which sets
23         forth the responsibilities of the committee and procedures that the committee
           will follow. Unless otherwise directed by the Board, new committees formed
24         by the Board will develop a written charter delineating its responsibilities.
25         77.    The Governance Guidelines discuss director confidentiality compliance under
26   the heading “Board Member Compliance with Confidentiality Obligations” stating, in
27   relevant part:
28
                                                     25
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 1         Delaware law imposes duties of care and loyalty on corporate directors, which
 2         includes a duty to protect the confidential information of the Company. In
           addition, the duty of loyalty prohibits directors from using any proprietary
 3         information belonging to the Company for their own personal benefit or the
 4         benefit of any person or entity other than the Company. It is essential that
           directors maintain the confidentiality of all nonpublic information belonging
 5         to, entrusted to, or about the Company.
 6         After consulting with the Chief Legal Officer, directors may disclose
 7         information covered by confidentiality obligations to the extent authorized by
           the Chairman of the Board or the CEO or as required by law or legal process.
 8
           All disclosures of non-public information must either (A) be disclosures
 9         subject to a confidentiality agreement and that satisfy the SEC’s Regulation
           FD or (B) public disclosures managed in accordance with the Company’s
10
           communication protocols.
11
           78.    Under the heading, “Chief Executive Officer Evaluation; Succession
12
     Planning” the Governance Guidelines state, in relevant part:
13
           The Board should conduct an annual review of the Chief Executive Officer’s
14         performance. The evaluation should be based on objective criteria including
15         performance of the business, accomplishment of long-term strategic
           objectives and the development of management. The evaluation will be used
16         by the Compensation Committee and Board in the course of its deliberations
17         when considering the compensation of the Chief Executive Officer.
18         79.    In violation of the Code of Conduct and the Governance Guidelines, the
19   Individual Defendants conducted little, if any, oversight of the Individual Defendants’
20   scheme to issue materially false and misleading statements to the public and to facilitate
21   and disguise the Individual Defendants’ violations of law, including but not limited to
22   breaches of fiduciary duty, unjust enrichment, abuse of control, gross mismanagement,
23   waste of corporate assets, and violations of the Exchange Act. Moreover, one of the
24   Individual Defendants violated the Code of Conduct by engaging in insider trading, netting
25   proceeds of approximately $965,776. Also, in violation of the Governance Guidelines, the
26   Individual Defendants failed to maintain the accuracy of Enphase’s records and reports,
27   failed to maintain internal controls, and failed to comply with laws and regulations, conduct
28
                                                  26
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 1
     business in an honest and ethical manner, and properly report violations of the Code of
 2
     Conduct.
 3
           Enphase’s Audit Committee Charter
 4
           80.    Enphase also maintains a Charter of the Audit Committee of the Board of
 5
     Directors (the “Audit Committee Charter”) which governs the Audit Committee’s roles,
 6
     responsibilities, and states the following regarding the purpose of the Audit Committee:
 7
           The purpose of the Audit Committee (the “Committee”) of the Board of
 8         Directors (the “Board”) of Enphase Energy, Inc., a Delaware corporation (the
 9         “Company”), shall be to (i) monitor and/or assist the Board in monitoring and
           overseeing (a) the audit, compliance, accounting and financial reporting
10         procedures of the Company, (b) the adequacy of the Company’s internal
11         financial controls, and (c) the overall integrity of the Company’s financial
           statements; and (ii) monitor and oversee (x) the selection and independence
12         of the Company’s independent registered public accounting firm
13         (“independent auditors”) and (y) the management of risks associated with the
           Company’s financial reporting, accounting and auditing matters.
14
           The Committee’s function is primarily one of oversight and shall not relieve
15         the responsibilities of the Company’s management for preparing financial
16         statements, which accurately and fairly present the Company’s financial
           results and condition, or the responsibilities of the independent auditors
17         relating to the audit or review of financial statements. Nothing in this charter
18         is intended to preclude or impair the protection provided in Section 141(e) of
           the Delaware General Corporation Law (“DGCL”) for good faith reliance by
19         members of the Committee on reports or other information provided by
20         others.
21         81.    Under the section titled “Annual Financial Reporting” the Audit Committee
22   Charter outlines the responsibilities and duties of the Audit Committee, stating the
23   following, in relevant part:
24
           In connection with the audit of each fiscal year’s financial statements, the
25         Committee will:
26         • meet with representatives of the independent auditor prior to the audit to
27           review planning and staffing of the audit;
28
                                                 27
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 1         • review and discuss the audited financial statements and related accounting
 2           and auditing principles and practices with appropriate members of the
             Company’s management;
 3                                 ⁎            ⁎            ⁎
 4         • review with appropriate management and auditor representatives their
 5           analysis of significant matters which relate to (1) the selection, application
             and effects of critical accounting policies applied by the Company, (2)
 6           internal auditing, financial management and control personnel, systems
 7           and procedures, (3) the status of any new, proposed or alternative
             accounting or financial reporting requirements, and (4) issues raised by
 8
             any management letter from the auditors, difficulties encountered in the
 9           audit, disagreements with management, or other significant aspects of the
             audit;
10
11         • receive from the independent auditors a written disclosure and statement
             of all relationships between the auditors and the Company consistent with
12           Rule 3526 of the PCAOB; • discuss with the auditors any disclosed
13           relationships or services that may impact the objectivity or independence
             of the auditors and take, or recommend that the full Board take, appropriate
14           action to oversee the independence of the auditor;
15
           • obtain from the independent auditors a statement of the audit fees and other
16           categories of fees billed for the last fiscal year which are required to be
             disclosed in the Company’s proxy statement for its annual meeting under
17
             the SEC’s proxy rules, and consider whether the provision of any non-audit
18           services is compatible with maintaining the auditors’ independence;
19                                      ⁎          ⁎          ⁎
20
           • recommend whether or not the audited financial statements should be
21           included in the Company’s Annual Report on Form l0-K for filing with the
             SEC.
22
           82.    Under the section titled “Quarterly Financial Reporting” the Audit Committee
23
     Charter delineates the Committee’s review of interim financial results, stating:
24
25         At a Committee meeting or through the Committee chairperson, the
           Committee will review with the independent auditors and appropriate
26         Company officers the Company’s interim financial results to be included in
27         the Company’s earnings press releases and on each Form 10-Q. The
           Committee’s review will normally include:
28
                                                 28
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 1         • the results of the independent auditors’ review of the quarterly financial
 2           statements;

 3         • management’s analysis of any significant accounting issues, changes,
             estimates, judgments or extraordinary items relating to the financial
 4           statements; and
 5
           • the selection, application and effects of critical accounting policies applied
 6           by the Company.
 7
           83.   Regarding internal controls, the Audit Committee Charter states:
 8
           The Committee will review at least annually:
 9
           • internal control systems and procedures of the Company; the status of
10           management responses to the prior period audit management letter by the
11           independent auditors;

12         • succession planning and staffing levels for the Company’s finance and
             accounting employees;
13
           • the status and implementation of conduct codes concerning related-party
14           transactions within the meaning of Rule 4-08(k) of Regulation S-X,
             conflicts of interest, ethical conduct, and compliance with applicable laws
15
             and regulatory policies; and
16         • if the Company has an internal audit function, the internal audit function’s
17           responsibilities, budget, and staffing.
18         84.   Regarding earnings announcements, the Audit Committee Charter states,
19   “The Committee will review and discuss with management and the Auditors any earnings
20   press releases and other financial information and guidance regarding the Company’s
21   results of operations provided publicly or to ratings agencies. The Chairperson of the
22   Committee may represent the entire Committee for the purposes of this discussion.”
23
           85.   In a section titled “Risk Assessment and Management,” the Audit Committee
24
     Charter states, “The Committee will review and discuss with management and, as
25
     appropriate, the auditors the Company’s major financial risk exposures and the steps taken
26
     by management to monitor and control these exposures.”
27
           86.   In addition, the Audit Committee Charter outlines other committee
28
                                                 29
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 1
     responsibilities under the heading “Other Committee Review Function” stating, in relevant
 2
     part, that “The Committee will establish and oversee procedures for receiving, retaining
 3
     and treating complaints received by the Company regarding accounting, internal
 4
     accounting controls or auditing matters and procedures for the confidential, anonymous
 5
     submission by employees of concerns regarding questionable accounting or auditing
 6
     matters.”
 7
           87.   In violation of the Audit Committee Charter, the Individual Defendants sitting
 8
     on the Audit Committee conducted little, if any, oversight of the Company’s engagement
 9
     in the Individual Defendants’ scheme to issue materially false and misleading statements
10
     to the public and to facilitate and disguise the Individual Defendants’ violations of law,
11
     including breaches of fiduciary duty, unjust enrichment, gross mismanagement, abuse of
12
     control, waste of corporate assets, and violations of the Exchange Act. Moreover, in
13
     violation of the Audit Committee Charter, the Individual Defendants failed to maintain the
14
     accuracy of the Company records and reports, comply with laws and regulations, act in
15
     good faith and diligence without misstating, misrepresenting, or omitting material facts,
16
     and properly report violations of the Audit Committee Charter.
17
                        INDIVIDUAL DEFENDANTS’ MISCONDUCT
18
           Background
19
           88.   Enphase is a Delaware corporation located in Freemont, California. Enphase
20
     is a global energy technology company that advertises innovative, convenient solutions for
21
     managing solar generation, storage, and communication on a singular platform.
22
           89.   Enphase designs, develops, and manufactures products that provide home
23
     energy solutions, including solar micro-inverters, battery energy storage, and E.V.
24
     charging stations that manage energy generation, energy storage, energy control, and
25
     communications on one platform.
26
           90.   Additional Company products include microinverter units and related
27
     accessories; an I.Q. gateway; I.Q. batteries; and the cloud-based Enlighten monitoring
28
                                                30
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 1
     service, along with design, proposal, permitting, and lead generation services. Company
 2
     customers include solar distributors, large installers, original equipment manufacturers,
 3
     strategic partners, and homeowners.
 4
                          FALSE AND MISLEADING STATEMENTS
 5
           December 12, 2022 Announcement
 6
           91.    On December 12, 2022, the Company announced that it was expanding its
 7
     microinverter business in Florida, stating the following, in relevant part:
 8
           FREMONT, Calif., Dec. 12, 2022 (GLOBE NEWSWIRE) -- Enphase
 9         Energy, Inc. (NASDAQ: ENPH), a global energy technology company and
10         the world's leading supplier of microinverter-based solar and battery systems,
           announced today that installers of Enphase® products in Florida have seen
11         growing deployments of Enphase Energy Systems™ powered by IQ8™
12         Microinverters. Residential solar deployments in Florida have grown
           substantially over the last several years and are expected to reach more than
13         500 MW by the end of 2022, according to the most recent U.S. Solar Market
14         Insight report from Wood Mackenzie and the Solar Energy Industries
           Association. Additionally, deployments of residential battery capacity in
15
           Florida are expected to grow more than four-fold by the end of 2026,
16         according to the most recent U.S. Energy Storage Monitor report from the
           Energy Storage Association and Wood Mackenzie. “Enphase’s IQ8
17
           Microinverters are unlocking more energy independence for our customers
18         than ever before,” said Matt Selby, president at Unicity Solar. “We’re excited
           to grow our business by offering Enphase’s industry-leading products and
19
           services to homeowners across Florida.” […]
20
     (Emphasis added).
21
           92.    The bolded and italicized portions of these statements were materially false
22
     and misleading because they failed to disclose that higher interest rates were already
23
     adversely affecting Enphase, particularly in Florida.
24
           January 5, 2023 Announcement
25
           93.    On January 5, 2023, the Company announced that it was also expanding its
26
     microinverter business in Arizona, stating the following, in relevant part:
27         FREMONT, Calif., Jan. 05, 2023 (GLOBE NEWSWIRE) -- Enphase Energy,
28         Inc. (NASDAQ: ENPH), a global energy technology company and the
                                                  31
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 1         world’s leading supplier of microinverter-based solar and battery systems,
 2         announced today that installers of Enphase® products in Arizona have seen
           growing deployments of Enphase Energy Systems™ powered by IQ8™
 3         Microinverters.
 4
           According to the U.S. Solar Market Insight report from Wood Mackenzie
 5         and the Solar Energy Industries Association, residential solar deployments
 6         in Arizona have been growing year-over-year and are forecasted to reach
           206 MW in 2023, representing a 20 percent increase over the previous year.
 7         Additionally, residential battery deployments in Arizona are expected to
 8         nearly quadruple by the end of 2026, according to the most recent U.S.
           Energy Storage Monitor report from the Energy Storage Association and
 9         Wood Mackenzie.
10
           “Arizona homeowners and businesses are increasingly turning to solar power
11         to keep their electricity bills under control as power prices continue to rise,”
12         said Chad Waits, owner at Net Zero Solar, an Enphase Platinum level installer.
           “With a shared passion for clean energy, quality, value, and customer service,
13         we’re proud to partner with Enphase to offer the IQ8- powered Enphase
14         Energy System to our customers.” “We believe that our customers are the
           center of our universe and that is why we are proud to provide them with
15         access to the industry-leading IQ8 microinverters from Enphase,” said Caleb
16         Antonucci, chief executive officer at Our World Energy, an Enphase Gold
           level installer. “This cutting-edge technology helps Arizona homeowners gain
17         access to clean energy, so they can feel good about doing their part to make
18         the world a better, greener place. We are committed to helping Arizona
           homeowners harness the power of clean energy and make the most of their
19         unique needs.” […]
20
     (Emphasis added).
21
           94.   The bolded and italicized statements were materially false and misleading
22
     when made because Defendants failed to disclose that higher interest rates were already
23
     adversely affecting Enphase, including in Arizona.
24
           February 7, 2023 Q4 2022 Press Release
25
           95.   On February 7, 2023, during pre-market hours, Enphase issued a press release
26
     reporting the Company’s financial results for the fourth quarter and full-year 2022 and
27
     providing the Company’s financial outlook for the first quarter of Fiscal Year 2023. The
28
                                                 32
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 1
     press release stated the following, in relevant part:
 2
           We reported record quarterly revenue of $724.7 million in the fourth quarter
 3         of 2022, along with 43.8% for non-GAAP gross margin. We shipped
 4         4,873,702 microinverters, or approximately 1,952.4 megawatts DC, and 122.1
           megawatt hours of Enphase® IQ™ Batteries. Financial highlights for the
 5         fourth quarter of 2022 are listed below:
 6
           • Record quarterly revenue of $724.7 million
 7
           • GAAP gross margin of 42.9%; non-GAAP gross margin of 43.8%
 8         • GAAP operating income of $157.0 million; non-GAAP operating income
 9           of $229.4 million
           • GAAP net income of $153.8 million; non-GAAP net income of $212.4
10           million
11         • GAAP diluted earnings per share of $1.06; non-GAAP diluted earnings
             per share of $1.51
12         • Free cash flow of $237.3 million; ending cash, cash equivalents, and
13           marketable securities of $1.61 billion
14                                       ⁎          ⁎          ⁎
15
16         IQ8 Microinverters constituted approximately 55% of all our microinverter
           shipments during the fourth quarter of 2022. We introduced IQ8
17         Microinverters in France and the Netherlands in the fourth quarter of 2022,
18         marking the first expansion into international markets for the product since its
           successful launch in North America in late 2021.
19
20         Our IQ Battery shipments were 122.1 megawatt hours in the fourth quarter
           of 2022, compared to 133.6 megawatt hours in the third quarter of 2022. We
21         made significant software upgrades to continue improving the installer and
22         homeowner experience and brought commissioning times down. We
           shipped IQ Batteries to North America, Germany, and Belgium during the
23         fourth quarter of 2022. We now have approximately 2,300 installers
24         worldwide that are certified to install our IQ Batteries.
25         We are adding additional manufacturing capacity in the United States due to
26         the strong global demand for our products as well as the incentives related to
           the Inflation Reduction Act (IRA). We plan to begin domestic manufacturing
27         in the second quarter of 2023 with a new contract manufacturing partner and
28         in the second half of 2023 with our two existing contract manufacturing
                                                   33
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 1         partners.
 2
           We began manufacturing Enphase-branded electric vehicle (EV) chargers at
 3         our contract manufacturing facility in Mexico, helping us to increase capacity
 4         and reduce costs. We expect to introduce IQ smart EV chargers to customers
           in the United States in the first half of 2023. They will provide connectivity
 5         and control, enabling use cases like green charging and allowing homeowners
 6         visibility into the operation of their Enphase solar-plus-storage-plus-EV
           system through the Enphase® App.
 7
 8         We continued to make progress on our installer platform. We made updates
           to Solargraf℠ software during the fourth quarter of 2022, incorporating
 9         battery design and proposal, document management, consumption modeling,
10         and several other improvements requested by our installer partners. In
           addition, we made significant strides in automating the creation of permit plan
11         sets with Solargraf software. We now have more than 1,000 installers using
12         the software.

13                                      ⁎          ⁎          ⁎
14
15               FIRST QUARTER 2023 FINANCIAL OUTLOOK

16         For the first quarter of 2023, Enphase Energy estimates both GAAP and non-
17         GAAP financial results as follows:
           • Revenue to be within a range of $700 million to $740 million, which
18            includes shipment of 100 to 120 megawatt hours of Enphase IQ Batteries
19         • GAAP gross margin to be within a range of 40.0% to 43.0%; non-GAAP
              gross margin to be within a range of 41.0% to 44.0%, excluding stock-
20            based compensation expense and acquisition related amortization
21         February 7, 2023 Q4 2022 Earnings Call
22         96.     Later that same day, Enphase held its Q4 2022 Earnings Call. During the call,
23   Defendant Kothandaraman and Defendant Yang discussed detailed information regarding
24   Enphase’s increased manufacturing in Europe and the U.S., continued ramp in higher
25   margin IQ8 microinverters, launch of the Company’s gen-3 battery technology, increased
26   market presence, and the development of U.S. manufacturing lines.
27         97.     At the start of the Q4 2022 Earnings Call Defendant Kothandaraman stated
28
                                                 34
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 1
     the following, in relevant part:
 2
           Let’s talk about microinverter manufacturing. Our overall supply environment
 3         remains quite stable in general. There are issues that crop up from time to
 4         time. Our teams are staying on top of them. Our quarterly capacity was 5
           million microinverters exiting Q4. We are on track to begin manufacturing at
 5         Flex Romania starting this quarter, enabling us to service Europe better. This
 6         will enable a total quarterly capacity of 6 million microinverters exiting Q1.
           We are going to increase this capacity even more with U.S. manufacturing.
 7
 8         Let’s cover that now. As we discussed last quarter, we are pleased that the
           IRA will help bring back high-tech manufacturing to the U.S. and stimulate
 9
           the economy through the creation of jobs. We are excited to service the U.S.
10         customers better with local manufacturing. We plan to begin U.S.
           manufacturing of our microinverters in the second quarter of 2023 with a new
11
           contract manufacturing partner and in the second half of 2023 with our 2
12         existing contract manufacturing partners. We plan to open 6 manufacturing
           lines by the end of this year adding a quarterly capacity of 4.5 million
13
           microinverters, bringing our total quarterly capacity to more than 10 million
14         microinverters as we exit 2023.
15
                                         ⁎           ⁎          ⁎
16
17         Let’s cover the regions. Our U.S. and international revenue mix for Q4 was
           71% and 29%, respectively. In the U.S., our revenue increased 15%
18         sequentially and 59% year-on-year. We had record quarterly revenue,
19         record quarterly sell-through for our microinverters and record quarterly
           installer count in the fourth quarter. Our microinverter channel inventory
20         was quite healthy at the end of the fourth quarter, while our storage channel
21         inventory was a little elevated.
22                                       ⁎           ⁎          ⁎
23         We have a strong team in place and are quite bullish about 2023. We expect
24         to introduce IQ batteries and IQ8 microinverters into many more countries
           in Europe as we progress through the year. Our value proposition is our
25         differentiated home energy management systems, combined with high
26         quality and great customer experience.
27   (Emphasis added.)
28
                                                 35
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 1
           98.    During the Q4 2022 Earnings Call, Defendant Yang touted the Company’s
 2
     increased revenue in Q4 2022 and provided a positive business outlook for the first quarter
 3
     of 2023, stating, in relevant part:
 4
           Total revenue for Q4 was $724.7 million, representing an increase of 14%
 5         sequentially and a quarterly record. We ship approximately 1,952.4
 6         megawatts DC of microinverters and 122.1 megawatt hours of IQ batteries
           in the quarter. Non-debt gross margin for Q4 was 43.8% compared to 42.9%
 7         in Q3.
 8
           The increase was driven by a favorable I8 product mix. The gross margin was
 9         42.9% for Q4. Non-GAAP operating expenses were $87.7 million for Q4
10         compared to $78.6 million for Q3. The increase was driven by international
           growth, customer service and R&D. Same operating expenses were $153.7
11         million for Q4 compared to $132.5 million for Q3. GAAP operating expenses
12         for Q4 included $59.4 million of stock-based compensation expenses and $4.9
           million of acquisition-related expenses and amortization for acquired
13         intangible assets and $1.8 million of restructuring and asset impairment
14         charges.

15                                         ⁎        ⁎          ⁎

16         In Q4, we generated $253.7 million in cash flow from operations and $237.3
           million in free cash flow. Capital expenditure was $16.4 million for Q4
17         compared to $8.9 million for Q3. The increase was primarily due to
18         investment in additional content manufacturing sites and R&D equipment.
           Capital expenditure for the full year of 2022 was $46.4 million. Now let's
19         discuss our outlook for the first quarter of 2023. We spent our revenue for the
20         first quarter of 2023 to be within a range of $700 million to $740 million,
           which includes shipments of 100- to 120-megawatt hours of IQ batteries. We
21         expect GAAP gross margin to be within the range of 40% to 43% and non-
22         debt gross margin to be within the range of 41% to 44%, which excludes stock
           based compensation expenses and acquisition-related amortization. We
23         assume a conservative euro FX rate in our Q1 guidance, and we don't expect
24         significant impact to our financials from fluctuations in FX rates. We set up
           our debt operating expenses to be within a range of $177 million to $181
25         million, including approximately $77 million estimated for stock-based
26         compensation expenses, restructuring charges for site consolidation,
           acquisition-related expenses and amortization. We expect our non-GAAP
27
           operating expenses to be within a range of $100 million to $104 million.
28
                                                 36
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 1   (Emphasis added.)
 2
           99.   Defendant Kothandaraman echoed Defendant Yang’s optimistic sentiment
 3
     regarding the Company’s opportunities for Fiscal Year 2023 stating, in relevant part:
 4
 5         We manage for the long term. The basic thesis ongoing solar and storage
           remains intact, aided by a few factors: first, the utility rates which are rising
 6         in many states across the U.S.; second, the 30% ITC tax credit, which has been
 7         extended for 10 years with the IRA; and third, the desire for energy
           independence and tackling climate change.
 8
 9         At Enphase, we will continue to make best-in-class home energy systems with
           a laser focus on product innovation, quality and customer experience. Let's
10         switch to talking about battery. We shipped 122-megawatt hours of IQ
11         batteries in Q4. We have now certified approximately 2,300 installers
           worldwide since the introduction of IQ batteries into North America,
12         Germany and Belgium. Our installers in North America experienced a median
13         commissioning time of 91 minutes exiting Q4 compared to 118 in Q3. We
           made significant software changes to improve communication, big transitions
14         and commissioning time, and I'm quite happy with the performance of the
15         team.

16         As a result, we saw slightly higher sell-through of our batteries in Q4 versus
17         Q3. We've also got a number of feedback from the installers about the fact of
           improved performance in terms of commissioning. We plan to ship 100- to
18         120- megawatt hours of IQ batteries in Q1. We also expect to start ramping
19         our third generation IQ battery in North America and Australia in the second
           quarter. This battery has got 5-kilowatt hour modularity, 2x the power
20         compared to our existing battery and 30-minute commissioning time in
21         addition to being easier to install and service. We expect the higher charge
           discharge rate as well as the 5-kilowatt hour modularity to be uniquely
22         beneficial to the homeowners under the upcoming NEM 3.0 tariff in
23         California.
24         With the significant changes we are making to our IQ batteries, we are
25         confident that storage installations will become as efficient as microinverters.
           And as a result, the profitability for installers should get better. We expect our
26         battery business to perform well in the second half of the year, both due to our
27         third-generation battery as well as NEM 3 adoption in California.
28
                                                  37
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 1                                       ⁎          ⁎          ⁎
 2
           In summary, we are quite pleased with our performance. As a reminder, our
 3
           strategy is to build best-in-class home energy systems and deliver them to
 4         homeowners through our installer and distributor partners, enabled by the
           installer platform. We have many new products that are coming out in 2023,
 5
           that will increase our served available market and positively contribute to
 6         the top line.
 7
           We look forward to introducing IQ8 microinverters worldwide, introducing
 8         IQ batteries into more countries in Europe, launching our third-generation
 9         battery in North America and Australia as well as introducing our highest
           power 480- watt IQ8P microinverter for both the U.S. small commercial and
10         emerging residential markets. We're also excited about the upcoming
11         Solargraf functionality, especially the NEM 3.0 functionality. And finally,
           the work we are doing to bring both smart EV chargers as well as
12         bidirectional EV charging capabilities to the market.
13
     (Emphasis added.)
14
15         100. Throughout the question-and-answer portion of the Q4 2022 Earnings Call,
16   Defendant Kothandaraman continuously assured investors that he was optimistic about
17   Enphase’s growth in 2023, responding to an analyst inquiring about the upcoming quarter
18   by stating the following, in relevant part:
19         <Q: Mark Wesley Strouse – JP Morgan Chase & Co. – Analyst> So a lot of
20         focus on the U.S. markets, but I just wanted to go back to your comments
           about Europe. So that's obviously been very strong in the last couple of years,
21         kind of doubling each year. I know you don't guide annually, but just kind
22         of how should we think about that market in 2023? Do you think kind of an
           approximate doubling is kind of the base case that we should be expecting
23         from here?
24
           <A: Badrinarayanan Kothandaraman> Well, as you said, we do not drive
25         something annually, but European market is growing. At least our internal
26         reports talk about served available solar market of about 13 gigawatts, 1-3, in
           2023. The markets to really -- the markets that are really driving are
27         Netherlands, Germany, Spain, France, Italy, and even actually Austria,
28         Poland, et cetera. They're all becoming quite significant markets. In addition,
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 1   attach -- battery attach is also growing. Like what I stated in the prior question
 2   -- answering the prior question, the attach rate on batteries in Germany is 80%.
     So solar plus storage is growing healthily. And the geopolitical situation
 3   accelerated it last year, and that's continuing what do -- what's our position is.
 4   We have a very differentiated product. We have microinverters on the roof,
     which are very high quality, easy to install, we have a huge customer service
 5   operation there in France and in Germany, and we take care of customers well.
 6
                                   ⁎         ⁎          ⁎
 7
 8   So to answer your question, the market is growing. The market is growing
 9   really significantly. That's what I told you 13 gigawatts, we are well
     positioned due to our differentiating value proposition, and we recently
10   bought a company, GreenCom Networks that is even going to make that
11   situation better where we provide a complete home energy management
     system to our installers.
12
13                                 ⁎         ⁎          ⁎

14
     <Q: Steven Isaac Fleishman – Wolfe Research, LLC – Analyst> Yes. Just
15   you’re growing your production capacity, you're doubling it from $5 million
     a quarter to $10 million. You said, I think, by year end of ‘20 -- ‘23. Just
16
     could you give us a sense of your conviction that the demand will be there
17   to meet that doubling of production.
18
     <A: Badrinarayanan Kothandaraman> Yes. Look, if you look at our past
19   growth rates, you can see it, we grew from -- we grew, I think, ‘21 to ‘22, we
     grew 59%. And at that time, I think end of ‘21, we were doing, if I remember
20
     right, around 3- ish million units a quarter. End of ‘22, we are now -- we just
21   reported 5-ish million units a quarter. So you can see that that's the nice
22   growth. So, our long-term thesis on solar is -- we are extremely bullish. We
     -- especially with countries like Europe and with a strong position in the
23   U.S. with our rapid entry into other emerging markets. We think it is the
24   right call to basically invest in the right manufacturing, especially given the
     IRA benefits. So even if we don’t use all 10 million units per quarter, we
25   will use it sooner or later. And I think the ROI is well worth especially
26   considering the net benefit to us. So our logic was quite simple.

27   We weren't worried. We did a few back-of-the-envelope calculations. We
28   thought it is the right thing for us to invest in these lines and fortunately,
                                            39
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 1         we have very strong and great contract manufacturing partners who need
 2         to do a lot of the heavy lifting, all our capital that we set out is quite limited.
           They do a lot of the heavy lifting, like what they are doing today, and 2 of
 3         them are existing contract manufacturers. So we have deep relationships.
 4         And we are going to work with them in the long term. So we thought that's
           the right decision for us to do, and we basically accelerated that effort.
 5
 6         And once we make a decision, it takes us a few quarters. In the past, it has
           taken us 4 to 6 quarters to ramp up the likes. So our thesis is quite bullish
 7         on solar, and we think that's the right call.
 8
     (Emphasis added.)
 9
10         101. When another analyst asked Defendant Kothandaraman about the NEM (Net
11   Energy Metering) 3.0 system’s effect on Enphase’s solar products, he responded the
12   following:
13         <Q: Brian K. Lee – Goldman Sachs Group, Inc. – Analyst> … First question
14         I had was just around NEM 3.0. I think there's different implications of that
           policy uncertainty near term and medium term from what we're hearing. So
15         maybe just wanted to get your thoughts near term, some views out there that
16         maybe there's a pull forward on demand in California. Would be curious what
           you're seeing with respect to that? And then kind of in the medium term, we're
17         hearing the industry is still maybe trying to figure out how to navigate this. So
18         curious how you specifically are thinking about the second half of 2023 in the
           U.S.? Are you kind of base case in California to be down significantly? And
19         then how do you see yourself navigating that, if that's the case? Are you
20         driving more product to other states, focusing more in Europe? Just curious
           just how you'd be thinking about planning into that period of higher policy
21         uncertainty in the back half?
22
           <A: Badrinarayanan Kothandaraman> Yes. On NEM 3, we aren't really
23         seeing any pull forward right now. But in talks with few installers in
24         California, both big and small, like what I said, the originations are up
           strongly. They are all quite optimistic. And maybe we will see something
25         soon that's why I talked about an optimistic Q2. But so far, we haven't seen
26         any pull forward demand yet.
27         Now on talking about NEM 3.0 in general. NEM 3.0 is going to be
28         incredibly positive for us. Because NEM 3.0, I mean, just so everybody gets
                                                   40
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 1         it, I'll talk about NEM 3.0, the features of NEM 3.0. Basically, the --
 2         previously, the import and export rates were the same. So therefore, when you
           exported electrons with the solar system didn't really matter. As long as you
 3         exported, it got directly subtracted from what you import. That's why it's
 4         called net metering, and that was net metering 2.0. With NEM 3.0, it matters
           when you export these electrons. So you have 24 hours a day, 365 days a year.
 5         So basically, 8,760 data points, and there is an export rate for each of those
 6         data points. Each of those hours, there is an export rate. And -- but what it
           works out to be is if you are interested in a pure solar system, your payback
 7         dropped understandably from, let's say, 5 years, it increases actually to
 8         something like 7 or 7.5 years with the pure solar system.

 9                                      ⁎          ⁎          ⁎
10
11         I'm not sure whether California will go in that direction. Time will tell
           because, we do have some color. We do have resilience issues as well. But
12         I'm sure markets will evolve a little in that direction, too. So bottom line, we
13         are incredibly optimistic. We got the right batteries for it with the third-
           generation battery. We got the modularity, which I think will start becoming
14         popular. Grid-tied may become popular, but we'll be ready to do either grid
15         tied or off grid, on grid with backup. The things that are looking, we like NEM
           3.0. Of course, we didn't like the fact the step down happened right away. But
16         I think in the long term, it's an okay decision.
17
     (Emphasis added.)
18
19         102. The statements contained in ¶¶95-101 above were materially false and/or
20   misleading when made because they failed to disclose that: (1) the Company’s battery
21   shipments to Europe and California had decreased; (2) Enphase’s battery deployment and
22   adoption were experiencing a slowdown; (3) the Company was undergoing a longer
23   transition period with NEM 3.0; and (4) Enphase was experiencing a slower output of
24   inverters manufactured by the recently-created U.S. base manufacturing lines. As a result
25   of the foregoing, the Company’s public statements were materially false and misleading at
26   all relevant times.
27         April 6, 2023 Proxy Statement
28
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 1
           103. On April 6, 2023, the Company filed a proxy statement with the SEC on
 2
     Schedule 14A (the “2023 Proxy Statement”). Defendants Kothandaraman, Gomo,
 3
     Haenggi, Kortlang, Malchow, Mora, and Rodgers solicited the 2023 Proxy Statement, filed
 4
     pursuant to Section 14(a) of the Exchange Act, which contained material misstatements
 5
     and omissions.
 6
           104. The 2023 Proxy Statement called for the Company shareholders to vote to,
 7
     inter alia: (1) elect Defendants Haenggi, Kortlang, and Mora to the Board until the 2026
 8
     annual meeting of stockholders; (2) approve, on an advisory basis, executive
 9
     compensation; and (3) ratify the selection of Deloitte & Toche LLP as the Company’s
10
     independent registered public accounting firm for Fiscal Year 2023.
11
           105. With respect to the Company’s Code of Conduct, the 2023 Proxy Statement
12
     stated:
13          We have adopted the Enphase Energy Code of Conduct (“Code of Conduct”)
14          that applies to all officers, directors and employees. The Code of Conduct is
            available on our website at https://investor.enphase.com/corporate-
15          governance. If we make any substantive amendments to the Code of Conduct
16          or grant any waiver from a provision of the Code of Conduct to any executive
            officer or director, we intend to promptly disclose the nature of the
17          amendment or waiver on our website.
18
19         106. Regarding the Role of the Board of Directors in Risk Oversight, the 2023

20   Proxy Statement stated:
           One of the Board’s key functions is informed oversight of our risk
21
           management process. The Board does not have a standing risk management
22         committee, but rather administers this oversight function directly through the
23         Board as a whole, as well as through various Board standing committees that
           address risks inherent in their respective areas of oversight. In particular, the
24         Board is responsible for monitoring and assessing strategic risk exposure,
25         including a determination of the nature and level of risk appropriate for
           Enphase. The Audit Committee has the responsibility to consider and discuss
26         our major financial and accounting risk exposures and the steps our
27         management has taken to monitor and control these exposures, including
           guidelines and policies to govern the process by which risk assessment and
28
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 1         management is undertaken. The Audit Committee also monitors compliance
 2         with legal and regulatory requirements, in addition to oversight of the
           performance of our internal audit function. The Audit Committee
 3         responsibilities also include oversight of cybersecurity risk management
 4         through its oversight of our controls and procedures in the finance and
           accounting areas. This oversight also includes an annual review of our IT
 5         security. The Nominating and Corporate Governance Committee oversees the
 6         risks associated with Board governance, director independence and our
           human capital and sustainability initiatives. The Compensation Committee
 7         assesses and monitors whether any of our compensation policies and
 8         programs has the potential to encourage excessive risk-taking. Each of our
           committees provides reports to the full Board on their oversight activities and
 9         elevates review of risk issues to the Board as appropriate. In addition, the
10         Board meets with certain members of our executive team, including the heads
           of our different organizational functions, who discuss the risks and exposures
11         involved in their respective areas of responsibility as well as any
12         developments that could impact our risk profile or other aspects of our
           business. These reports from our executive team are designed to provide
13         timely visibility to the Board and its committees about the identification and
14         assessment of key risks, our risk mitigation strategies and ongoing
           developments.
15
16         107. With regard to the Audit Committee’s oversight responsibility, the 2023
17   Proxy Statement stated:
18
19         The Audit Committee also has the following responsibilities:
            • determining whether to retain or terminate the existing independent
20            auditors or to appoint and engage new independent auditors;
21          • reviewing and approving the retention of the independent auditors to
              perform any proposed permissible non-audit services;
22
            • reviewing and approving or rejecting related-party transactions;
23          • oversight of our enterprise risk management program; and
24          • reviewing and discussing with management and the independent
              registered public accounting firm our annual audited and quarterly
25            financial statements, the results of the independent audit and the quarterly
26            reviews, and the reports and certifications regarding internal control over
              financial reporting and disclosure controls.
27
28
                                                 43
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 1
           108. Defendants Kothandaraman, Gomo, Haenggi, Kortlang, Malchow, Mora, and
 2
     Rodgers caused the 2023 Proxy Statement to be false and misleading by failing to disclose,
 3
     inter alia, that: (1) the Company’s battery shipments to Europe and California had
 4
     decreased; (2) Enphase’s battery deployment and adoption were experiencing a slowdown;
 5
     (3) the Company was undergoing a longer transition period with NEM 3.0; and (4) Enphase
 6
     was experiencing a slower output of inverters manufactured by the recently-created U.S.
 7
     base manufacturing lines. As a result of the foregoing, the Company’s public statements
 8
     were materially false and misleading at all relevant times.
 9
           109. The 2023 Proxy Statement was also false and misleading because, despite
10
     assertions to the contrary, the Company’s Code of Conduct and the Audit Committee
11
     Charter were not followed, as evidenced by the Individual Defendants: (1) making and/or
12
     causing the Company to make the numerous false and misleading statements and omissions
13
     alleged herein; and (2) failing to report violations of the Code of Conduct. Further, the
14
     2023 Proxy Statement was materially false and misleading because, despite assertions to
15
     the contrary, the Board was not adequately performing its risk oversight functions.
16
           110. As a result of Defendants Kothandaraman, Gomo, Haenggi, Kortlang,
17
     Malchow, Mora, and Rodgers causing the 2023 Proxy Statement to be false and
18
     misleading, Company shareholders voted, inter alia, to: (1) elect Defendants Haenggi,
19
     Kortlang, and Mora to the Board until 2026 annual meeting of stockholders; (2) approve,
20
     on an advisory basis, executive compensation; and (3) ratify the selection of Deloitte &
21
     Toche LLP as the Company’s independent registered public accounting firm for Fiscal
22
     Year 2023.
23
                                        The Truth Emerges
24
           April 25, 2023 Q1 2023 Press Release
25
26         111. On April 25, 2023, the truth about Enphase’s financial results for Q1 2023
27   began to emerge when the Company issued a press release reporting its Q1 2023 results
28
                                                 44
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 1
     and weak revenue outlook for the second quarter of Fiscal Year 2023. The Q1 2023 Press
 2
     Release revealed the following, in relevant part:
 3
           Total revenue for the first quarter of 2023 was $726.0 million, compared to
 4         $724.7 million in the fourth quarter of 2022. Our revenue in the United States
 5         for the first quarter of 2023 decreased approximately 9% due to seasonality
           and macroeconomic conditions, while our revenue in Europe increased
 6         approximately 25%, compared to the fourth quarter of 2022. Our non-GAAP
 7         gross margin was 45.7% in the first quarter of 2023, compared to 43.8% in
           the fourth quarter of 2022, driven by increased IQ8™ product mix and
 8         improved logistics.
 9
           For the second quarter of 2023, Enphase Energy estimates both GAAP and
10
           non-GAAP financial results as follows, excluding any benefit from the IRA:
11         • Revenue to be within a range of $700.0 million to $750.0 million, which
              includes shipments of 80 to 100 megawatt hours of Enphase IQ Batteries
12
           • GAAP gross margin to be within a range of 41.0% to 44.0%
13         • Non-GAAP gross margin to be within a range of 42.0% to 45.0%,
              excluding stock-based compensation expense and acquisition related
14
              amortization
15         • GAAP operating expenses to be within a range of $155.0 million to $159.0
              million
16
           • Non-GAAP operating expenses to be within a range of $98.0 million to
17            $102.0 million, excluding $57.0 million estimated for stock-based
              compensation expense, acquisition related expenses and amortization, and
18
              restructuring charges for site consolidation
19         • GAAP and non-GAAP annualized effective tax rate is expected to be
              within a range of 21.0% to 23.0%
20
     (Emphasis added.)
21
            April 25, 2023 Q1 2023 Earnings Call
22
           112. The truth fully emerged later that day when the Company hosted an earnings
23
     call (the “Q1 2023 Earnings Call”) following the Q1 2023 Press Release. During the call,
24
     Defendant Kothandaraman and Defendant Yang provided insight on the Company’s Q1
25
     2023 financial results, as well as a poor revenue forecast for the second quarter of Fiscal
26
     Year 2023, stating the following, in relevant part:
27
28
                                                  45
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 1   We had a decent quarter. We reported revenue of $726 million, shipped
 2   approximately 4.8 million microinverters and 102-megawatt hours of batteries
     and generated free cash flow of $223.8 million. Approximately 65% of our
 3   Q1 microinverter shipments were IQ8. We exited Q1 at 46% gross margin,
 4   14% operating expense and 32% operating income, all as a percentage of
     revenue on a non-GAAP basis.
 5
                                   ⁎         ⁎          ⁎
 6
 7   In the U.S., our revenue decreased 9% sequentially due to seasonality and
 8   macroeconomic conditions and increased 28% year-on-year. The sell-
     through of our microinverters in Q1 decreased 21% sequentially compared
 9   to Q4, worse than the typical seasonality of 15%. Our microinverter channel
10   inventory at the end of Q1 was relatively normal, while the storage channel
     inventory was a little elevated.
11
12                                 ⁎         ⁎          ⁎
13
     As I said earlier on this call, our sell-through of microinverters in the U.S. was
14   21% lesser in Q1 compared to Q4. Our sell-through in California was only
15   9% lesser than Q4. There was some impact due to the weather in early Q1,
     but the NEM 2.0 rush in Q1 more than compensated for it.
16
17   California installers took advantage of the NEM 2.0 rush and have built up a
     solar backlog for the next 3 to 4 months. We believe the installers aren't
18   expanding their crews to accelerate installation, they're laser focused on their
19   cash flow due to the high interest rate environment and are looking clarity --
     for -- yes, clarity on the NEM 3.0 demand.
20
21   Sell-through of our batteries in California was 23% lesser in Q1 compared to
     Q4 as installers focused mainly on solar. We expect this trend to continue for
22   the next 3 to 4 months. After that, we see NEM 3.0 as a net positive for
23   California and expect strong demand to resume for solar plus storage. Let's
     cover the rest of the U.S. The sell-through of microinverters in non-California
24   states was 25% lesser in Q1 compared to Q4.
25
     We observed that the sell-through was even lower in states with low utility
26   rates, such as Texas, Florida and Arizona. In these states, the economics of
27   loan financing has worsened due to rising interest rates. The sell-through
     performance in the Northeast U.S. was a little better. Coming to IQ batteries,
28
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 1         the sell-through in non-California states was 28% lesser in Q1 compared to
 2         Q4.

 3   (Emphasis added.)
 4         113. Throughout the Q1 2023 Earnings Call, analysts and investors asked
 5   Defendant Kothandaraman and Defendant Yang several questions related to the
 6   Company’s financial results for Q1 2023.
 7         114. Specifically, analyst Mark Wesley Strouse at JP Morgan Chase & Co. asked
 8   the following question about guidance regarding the second quarter of Fiscal Year 2023:
 9
           So I'll just stick to one and take the rest offline. I wanted to come back to the
10         OpEx. The guidance for 2Q is kind of flattish quarter-over-quarter. Just from
           a high level, not necessarily looking for specific guidance, but from a high
11
           level, I mean, to the extent that the macro continues to deteriorate, California
12         transition might take longer than expected. How should we think about OpEx
           going forward and kind of balancing near-term profitability with a lot of the
13
           investments that you're making in geographic and product expansion and
14         everything else?
15
        Defendant Kothandaraman replied:
16
17         You should always think about OpEx at 15% of sales. That's the general
           model. All I said in Q2 that we're not going to be compromising on innovation.
18         We're not going to be compromising our international growth. We're going to
19         make generally the company better in other areas. But our baseline is 15% of
           revenue, and we don't plan on exceeding that.
20                                       ⁎         ⁎         ⁎
21         115. A different analyst, Christine Cho, from Barclays Bank PLC inquired into the
22   Company’s expected IQ8 rollout percentage, asking, in relevant part:
23
           Okay. And then on the IQ8 rollout, that's been slower than expected. Could
24         you just go into some more detail into what's driving that? Is it on the supply
25         side with any of the components? Or is it on the demand side as customers
           sound like they've had to work through inventory over the last quarter or 2?
26         And I think on the last quarter call, you said you expected it to jump to 80%
27         in 2Q.
28
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 1         So is that still the expectation? And then just with the gross margins, it's very
 2         high this quarter and the IQ8 drove that. But your 2Q guidance is lower and
           batteries are lower. So that's going to be less of a drag. So is this just
 3         conservatism? Or is there anything one-off that we should be aware about in
 4         1Q or 2Q?

 5      Defendant Kothandaraman replied:
 6
           There's nothing one-off. You're right, we are -- originally, I thought 90% by
 7         Q2, last earnings call, I told you 90% by Q3. That's the number, 90% by Q3.
 8         80% by Q2 will be okay. We are -- for example, in Europe, 50% of our
           volumes are IQ8 right now. We're introducing IQ8 to many more countries as
 9         we speak. Yesterday, we introduced IQ8 to Spain and Portugal. Soon, we will
10         introduce to Poland, Germany, et cetera. We plan on doing the bulk of those
           introductions. In this quarter, most of them, there will be some spillover in Q3
11         for a few, but we very much want to achieve 90% in Q3. That's our target.
12
           116. Later on the call, analyst Eric Andrew from Stine-Craig-Hallum Capital
13
     Group asked Defendant Kothandaraman to provide insight as to what conditions would
14
     allow the Company to reach the high end of its predicted revenue range, as opposed to what
15
     conditions would risk the Company falling within the lower end of the revenue range,
16
     asking, in relevant part:
17
18         One here at the end for me. So I know a lot of moving parts, you've got a big
           revenue range on one hand, less seasonality on the other. Channel inventory
19         that you've detailed, I'm just curious if you'd be willing to kind of go through
20         a scenario that gets you to the high end of that revenue range and a scenario
           that gets you to the low end of that range and maybe how that breaks down
21         between the U.S. and international?
22
        Defendant Kothandaraman replied:
23
24         Yes. I mean we are pretty conservative when it comes to our guidance. You
           should see our track record in general. And we do have -- like what I said, we
25         do have a lot of dry powder in terms of new products. This year is the year of
26         new products, and we are going to be releasing new products constantly. And
           so we think other than the base business, which we guided on in Q2, there is
27         a lot more to come there.
28
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 1         So our guidance is a little bit wider this time, plus/minus $25 million. It is to
 2         reflect a slightly more uncertainty compared to the last time. But our Europe
           business is doing incredibly well. We grew 25% in one quarter from Q4 to
 3         Q1. We have doubled -- we doubled from 2020 to 2021. From '21 to '22, we
 4         grew 132%. I just released my annual letter yesterday. You can see that. 132%
           growth from '21 to '22. And so Europe is doing incredibly well for us. We are
 5         focused on entering a lot more countries there. We are focused on IQ8
 6         microinverters. We're focused on IQ batteries. Lots of regions big market over
           10 gigawatts compared to the U.S., which is 5 gigawatts right now. So bottom
 7         line, we are pretty conservative.
 8
        Analyst Eric Andrew from Stine-Craig-Hallum Capital Group responded:
 9
10         Got it. And then I mean you do have the wide range, but it did seem in your
           commentary that you do expect improvement versus the first quarter. I mean,
11         so is it fair to say that your expectation would be that the top half of that range?
12
        Defendant Kothandaraman replied:
13
           I mean we gave guidance, $700 million to $750 million. And there's nothing
14
           else, we cannot say we are in the top half of the range.
15
16         117. Defendant Kothandaraman and Defendant Yang’s above referenced

17   statements from the Q1 2023 Press Release and Q1 2023 Earnings Call sharply cut against

18   the statements made by both Defendants during the Q4 2022 Earnings Call. During the Q4

19   2022 Earnings Call, Defendant Kothandaraman discussed the Company’s plans to increase

20   manufacturing of IQ8 microinverters in both Europe and the U.S., introduce gen-3 battery

21   technology, increase market presence, and begin developing U.S. manufacturing lines.

22   Defendant Kothandaraman and Defendant Yang also emphasized the Company’s ability to

23   experience record quarterly revenue for Q1 2023 in spite of seasonality and

24   macroeconomic challenges.

25         118. On this news, the price of the Company’s stock fell from $220.60 per share

26   on April 25, 2023, to $163.83 per share on April 26, 2023. This represented a decline of

27   almost 26% within one day.

28
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 1
             119. Multiple reputable financial analysts lowered their price targets for the
 2
     Company following the news. For instance, Wells Fargo’s price target for Enphase’s stock
 3
     dropped, with Wells Fargo analysts noting that “[t]he revenue outlook for the next 1-2 Qs
 4
     is uncertain due to NEM 3.0, higher interest rates & elevated storage inventories. However,
 5
     estimates have already been cut to reflect much of these headwinds.”
 6
             120. Additionally, Deutsche Bank also lowered its price target for Enphase stock,
 7
     reporting that “[t]he guide implies flat revenues sequentially, despite management
 8
     expecting better seasonality in 2Q vs 1Q.” The Deutsche Bank analyst also noted the low
 9
     probability of the Company’s new U.S. base manufacturing lines being fully operational
10
     by the end of the year and commented that the Company’s expectation of shipment capacity
11
     reaching 4.5 m units by the end of 2024 was “a slower assumption vs. previous
12
     commentary.”
13
                              Repurchases During the Relevant Period
14
             121. During the Relevant Period, the Individual Defendants caused the Company
15
     to initiate repurchases of its common stock that substantially damaged the Company. In
16
     total, the Company spent an aggregate amount of over $24.45 million to repurchase
17
     approximately 148,557 shares of its own common stock at artificially inflated prices from
18
     December 2022 through April 2023.
19
             122. According to a Form 10-Q the Company filed with the SEC on July 27, 2023,
20
     in April 2023, 1 the Company purchased 148,557 shares of its common stock for
21
     approximately $24.45 million at an average price of $164.60 per share.
22
             123. As the Company’s stock was actually worth only $163.83 per share, the price
23
     at closing on April 26, 2023, the Company overpaid by approximately $114,389 for
24
     repurchases of its own stock in April 2023.
25
             124. Thus, in total, during the Relevant Period, the Company overpaid for
26
     repurchases of its own stock by approximately $114,389.
27
28   1
         Upon information and belief, these shares were repurchased during the Relevant Period.
                                                   50
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 1
                                     DAMAGES TO ENPHASE
 2
           125. As a direct and proximate result of the Individual Defendants’ conduct,
 3
     Enphase has lost and will continue to lose and expend many millions of dollars.
 4
           126. Such expenditures include, but are not limited to, legal fees, costs, and any
 5
     payments for resolution of or to satisfy a judgment associated with the Securities Class
 6
     Actions, and amounts paid to outside lawyers, accountants, and investigators in connection
 7
     thereto.
 8
           127. Such expenditures also include, but are not limited to, fees, costs, and any
 9
     payments for resolution of or to satisfy judgments associated with any other lawsuits filed
10
     against the Company or the Individual Defendants based on the misconduct alleged herein,
11
     and amounts paid to outside lawyers, accountants, and investigators in connection thereto.
12
           128. Such expenditures will also include costs incurred in any internal
13
     investigations pertaining to violations of law, costs incurred in defending any
14
     investigations or legal actions taken against the Company due to its violations of law, and
15
     payments of any fines or settlement amounts associated with the Company’s violations.
16
           129. Such losses include the Company’s overpayment of approximately $114,389
17
     for repurchases of its own stock during the period when the Company’s stock price was
18
     artificially inflated due to the false and misleading statements discussed herein.
19
           130. Additionally, these expenditures include, but are not limited to, unjust
20
     compensation, benefits, and other payments provided to the Individual Defendants who
21
     breached their fiduciary duties to the Company.
22
           131. As a direct and proximate result of the Individual Defendants’ conduct,
23
     Enphase has also suffered and will continue to suffer a loss of reputation and goodwill, and
24
     a “liar’s discount” that will plague the Company’s stock in the future due to the Company’s
25
     and their misrepresentations.
26
                                 DERIVATIVE ALLEGATIONS
27
           132. Plaintiff brings this action derivatively and for the benefit of Enphase to
28
                                                  51
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 1
     redress injuries suffered, and to be suffered, as a result of the Individual Defendants’
 2
     breaches of their fiduciary duties as directors and/or officers of Enphase, unjust
 3
     enrichment, abuse of control, gross mismanagement, waste of corporate assets, violations
 4
     of Sections 14(a), 10(b), and 20(a) of the Exchange Act, as well as for contribution under
 5
     Sections 10(b) and 21D of the Exchange Act against Defendants Kothandaraman and
 6
     Yang.
 7
             133. Enphase is named solely as a nominal party in this action. This is not a
 8
     collusive action to confer jurisdiction on this Court that it would not otherwise have.
 9
             134. Plaintiff is, and has been at all relevant times, a shareholder of Enphase.
10
     Plaintiff will adequately and fairly represent the interests of Enphase in enforcing and
11
     prosecuting its rights, and, to that end, has retained competent counsel, experienced in
12
     derivative litigation, to enforce and prosecute this action.
13
                              DEMAND FUTILITY ALLEGATIONS
14
             135. Plaintiff incorporates by reference and realleges each and every allegation
15
     stated above as if fully set forth herein.
16
             136. A pre-suit demand on the Board is futile and, therefore, excused. When this
17
     action was filed, Enphase’s Board consisted of the following seven individuals: Defendants
18
     Kothandaraman, Gomo, Haenggi, Kortlang, Malchow, Mora, and Rodgers (the “Director-
19
     Defendants”). Plaintiff needs only to allege demand futility as to four of the seven Director-
20
     Defendants that were on the Board at the time this action was filed.
21
             137. Demand is excused as to all of the Director-Defendants because each one of
22
     them faces, individually and collectively, a substantial likelihood of liability as a result of
23
     the scheme they engaged in knowingly or recklessly to make and/or cause the Company to
24
     make false and misleading statements and omissions of material fact, and, at the same time,
25
     to cause the Company to overpay by approximately $114,389 for repurchases of its own
26
     stock, all of which renders the Director-Defendants unable to impartially investigate the
27
     charges and decide whether to pursue action against themselves and the other perpetrators
28
                                                   52
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 1
     of the scheme.
 2
           138. Moreover, all of the Director-Defendants solicited the 2023 Proxy Statement
 3
     to call for a shareholder vote to, inter alia, re-elect Defendants Haenggi, Kortlang, and
 4
     Mora to the Board, thus allowing them to continue breaching their fiduciary duties to
 5
     Enphase.
 6
           139. In complete abdication of their fiduciary duties, the Director-Defendants
 7
     either knowingly or recklessly caused or permitted Enphase to issue materially false and
 8
     misleading statements. Specifically, the Director-Defendants caused Enphase to issue false
 9
     and misleading statements which were intended to make Enphase appear more profitable
10
     and attractive to investors. Moreover, the Director-Defendants caused the Company to fail
11
     to maintain internal controls. As a result of the foregoing, the Director-Defendants
12
     breached their fiduciary duties, face a substantial likelihood of liability, are not
13
     disinterested, and demand upon them is futile, and thus excused.
14
           140. Additional reasons that demand on Defendant Kothandaraman is futile follow.
15
     Defendant Kothandaraman has served as President and CEO of Enphase and as a Company
16
     director since September 2017. Previously, he served as the Company’s COO from April
17
     2017 to September 2017. Thus, as the Company admits, he is a non-independent director.
18
     As the Company’s highest officer and influential member of the Board, Defendant
19
     Kothandaraman was ultimately responsible for the issuance of all of the false and
20
     misleading statements during the Relevant Period. The Company provides Defendant
21
     Kothandaraman with his principal occupation, for which he receives handsome
22
     compensation, including over $19 million for Fiscal Year 2023. Defendant Kothandaraman
23
     also solicited the 2023 Proxy Statement, which contained false and misleading statements
24
     and contributed to the re-election of Defendants Haenggi, Kortlang, and Mora to the Board,
25
     which allowed them to continue to breach their fiduciary duties to the Company. As the
26
     Company’s highest officer, he conducted little, if any, oversight of the scheme to cause the
27
     Company to make false and misleading statements, consciously disregarded his duties to
28
                                                 53
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 1
     monitor internal controls over reporting and engagement in the scheme, and consciously
 2
     disregarded his duties to protect corporate assets. In addition, during the Relevant Period,
 3
     he failed to correct the false and misleading statements alleged herein. For these reasons,
 4
     Defendant Kothandaraman breached his fiduciary duties, faces a substantial likelihood of
 5
     liability, is not independent or disinterested, and thus demand upon him is futile and,
 6
     therefore, excused.
 7
           141. Additional reasons that demand on Defendant Gomo is futile follow.
 8
     Defendant Gomo has served as a Company director since March 2011. He also serves as
 9
     Chair of the Board and as Chair of the Audit Committee. Defendant Gomo has received
10
     and continues to receive handsome compensation for his role as a director, including
11
     $374,991 in Fiscal Year 2023. Defendant Gomo also solicited the 2023 Proxy Statement,
12
     which contained false and misleading statements and contributed to the re-election of
13
     Defendants Haenggi, Kortlang, and Mora to the Board, which allowed them to continue to
14
     breach their fiduciary duties to the Company. As trusted Chair of the Board and Chair of
15
     the Audit Committee, he conducted little, if any, oversight of the scheme to cause the
16
     Company to make false and misleading statements, consciously disregarded his duties to
17
     monitor internal controls over reporting and engagement in the scheme, and consciously
18
     disregarded his duties to protect corporate assets. For these reasons too, Defendant Gomo
19
     breached his fiduciary duties, faces a substantial likelihood of liability, is not independent
20
     or disinterested, and thus demand upon him is futile and therefore, excused.
21
           142. Additional reasons that demand on Defendant Haenggi is futile follow.
22
     Defendant Haenggi has served as a Company director since August 2020. She also serves
23
     as a member of the Nominating and Corporate Governance Committee. Defendant Haenggi
24
     has received and continues to receive handsome compensation for her role as a director,
25
     including $314,852 in Fiscal Year 2023. Defendant Haenggi also solicited the 2023 Proxy
26
     Statement, which contained false and misleading statements and contributed to her re-
27
     election to the Board, as well as the re-elections of Defendants Kortlang and Mora to the
28
                                                  54
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 1
     Board, which allowed them to continue to breach their fiduciary duties to the Company.
 2
     As a trusted Company director, she conducted little, if any, oversight of the scheme to
 3
     cause the Company to make false and misleading statements, consciously disregarded her
 4
     duties to monitor internal controls over reporting and engagement in the scheme, and
 5
     consciously disregarded her duties to protect corporate assets. For these reasons too,
 6
     Defendant Haenggi breached her fiduciary duties, faces a substantial likelihood of liability,
 7
     is not independent or disinterested, and thus demand upon her is futile and therefore,
 8
     excused.
 9
           143. Additional reasons that demand on Defendant Kortlang is futile follow.
10
     Defendant Kortlang has served as a Company director since May 2010. He also serves as
11
     Chair of the Nominating and Corporate Governance Committee and as a member of the
12
     Audit Committee. Defendant Kortlang has received and continues to receive handsome
13
     compensation for his role as a director, including $334,852 in Fiscal Year 2023. Defendant
14
     Kortlang also solicited the 2023 Proxy Statement, which contained false and misleading
15
     statements and contributed to his re-election to the Board, as well as the re-elections of
16
     Defendants Haenggi and Mora to the Board, which allowed them to continue to breach
17
     their fiduciary duties to the Company. As a trusted Company director, he conducted little,
18
     if any, oversight of the scheme to cause the Company to make false and misleading
19
     statements, consciously disregarded his duties to monitor internal controls over reporting
20
     and engagement in the scheme, and consciously disregarded his duties to protect corporate
21
     assets. For these reasons too, Defendant Kortlang breached his fiduciary duties, faces a
22
     substantial likelihood of liability, is not independent or disinterested, and thus demand
23
     upon him is futile and therefore, excused.
24
           144. Additional reasons that demand on Defendant Malchow is futile follow.
25
     Defendant Malchow has served as a Company director since February 2020. He also
26
     previously served as a consultant to Enphase from April 2019 to April 2022. Thus, as the
27
     Company admits, he is a non-independent director. Defendant Malchow has received and
28
                                                  55
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 1
     continues to receive handsome compensation for his role as a director, including $309,852
 2
     in Fiscal Year 2023. Defendant Malchow also solicited the 2023 Proxy Statement, which
 3
     contained false and misleading statements and contributed to the re-election of Defendants
 4
     Haenggi, Kortlang, and Mora to the Board, which allowed them to continue to breach their
 5
     fiduciary duties to the Company. As a trusted Company director, he conducted little, if any,
 6
     oversight of the scheme to cause the Company to make false and misleading statements,
 7
     consciously disregarded his duties to monitor internal controls over reporting and
 8
     engagement in the scheme, and consciously disregarded his duties to protect corporate
 9
     assets. For these reasons too, Defendant Malchow breached his fiduciary duties, faces a
10
     substantial likelihood of liability, is not independent or disinterested, and thus demand
11
     upon him is futile and therefore, excused.
12
           145. Additional reasons that demand on Defendant Mora is futile follow.
13
     Defendant Mora has served as a Company director since February 2014. He also serves as
14
     a member of the Compensation Committee and Audit Committee. Defendant Mora has
15
     received and continues to receive handsome compensation for his role as a director,
16
     including $334,852 in Fiscal Year 2023. Defendant Mora also solicited the 2023 Proxy
17
     Statement, which contained false and misleading statements and contributed to his re-
18
     election to the Board, as well as the re-elections of Defendants Haenggi and Kortlang to
19
     the Board, which allowed them to continue to breach their fiduciary duties to the Company.
20
     As a trusted Company director, he conducted little, if any, oversight of the scheme to cause
21
     the Company to make false and misleading statements, consciously disregarded his duties
22
     to monitor internal controls over reporting and engagement in the scheme, and consciously
23
     disregarded his duties to protect corporate assets. Additionally, during the Relevant Period
24
     and while the price of the Company’s common stock was artificially inflated due to the
25
     misrepresentations alleged herein, Defendant Mora engaged in lucrative insider trading,
26
     obtaining personal profits of approximately $965,776. For these reasons too, Defendant
27
     Mora breached his fiduciary duties, faces a substantial likelihood of liability, is not
28
                                                  56
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 1
     independent or disinterested, and thus demand upon him is futile and therefore, excused.
 2
           146. Additional reasons that demand on Defendant Rodgers is futile follow.
 3
     Defendant Rodgers has served as a Company director since January 2017. He also serves
 4
     as Chair of the Compensation Committee and as a member of the Nominating and
 5
     Corporate Governance Committee. Defendant Rodgers has received and continues to
 6
     receive handsome compensation for his role as a director, including $334,852 in Fiscal
 7
     Year 2023. Defendant Rodgers also solicited the 2023 Proxy Statement, which contained
 8
     false and misleading statements and contributed to the re-election of Defendants Haenggi,
 9
     Kortlang, and Mora to the Board, which allowed them to continue to breach their fiduciary
10
     duties to the Company. As a trusted Company director, he conducted little, if any, oversight
11
     of the scheme to cause the Company to make false and misleading statements, consciously
12
     disregarded his duties to monitor internal controls over reporting and engagement in the
13
     scheme, and consciously disregarded his duties to protect corporate assets. For these
14
     reasons too, Defendant Rodgers breached his fiduciary duties, faces a substantial likelihood
15
     of liability, is not independent or disinterested, and thus demand upon him is futile and
16
     therefore, excused.
17
           147. Additional reasons that demand on the Board is futile follow.
18
           148. Each of the Director-Defendants, individually and collectively, faces a
19
     substantial likelihood of liability as a result of their intentional or reckless approval of the
20
     unnecessary and harmful repurchases that caused the Company to overpay by
21
     approximately $114,389 for its own common stock during the Relevant Period. The
22
     Director-Defendants, as alleged herein, were aware or should have been aware of the
23
     misinformation being spread by the Company and yet approved the repurchases. Thus, the
24
     Director-Defendants breached their fiduciary duties, face a substantial likelihood of
25
     liability, are not disinterested, and demand upon them is futile, and thus excused.
26
           149. Defendants Gomo, Kortlang, and Mora (collectively, the “Audit Committee
27
     Defendants”) served as members of the Audit Committee at all relevant times. As such,
28
                                                   57
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 1
     they were responsible for the effectiveness of the Company’s internal controls, the truth
 2
     and accuracy of the Company’s financial statements, and the Company’s compliance with
 3
     applicable laws and regulations. During the Relevant Period, they violated the Audit
 4
     Committee Charter by engaging in or permitting the Company to engage in the
 5
     dissemination of materially false and misleading statements to the public and to facilitate
 6
     the Individual Defendants’ violations of law, including breaches of fiduciary duty and
 7
     violations of the Exchange Act; failed to adequately exercise their risk management and
 8
     risk assessment functions; and failed to ensure adequate Board oversight of the Company’s
 9
     internal control over financial reporting, disclosure controls and procedures, and the Code
10
     of Conduct. Thus, the Audit Committee Defendants breached their fiduciary duties, are not
11
     independent or disinterested, and thus demand is excused as to them.
12
               150. In violation of the Code of Conduct, the Director-Defendants conducted little,
13
     if any, oversight of the Company’s engagement in the Individual Defendants’ scheme to
14
     issue materially false and misleading statements to the public and to facilitate and disguise
15
     the Individual Defendants’ violations of law, including breaches of fiduciary duty, unjust
16
     enrichment, abuse of control, gross mismanagement, waste of corporate assets, and
17
     violations of the Exchange Act. In further violation of the Code of Conduct, the Director-
18
     Defendants failed to comply with laws and regulations, maintain the accuracy of Company
19
     records and reports, avoid conflicts of interest, conduct business in an honest and ethical
20
     manner, and properly report violations of the Code of Conduct. Thus, the Director-
21
     Defendants face a substantial likelihood of liability and demand is futile as to them.
22
               151. Enphase has been and will continue to be exposed to significant losses due to
23
     the wrongdoing complained of herein, yet the Director-Defendants have not filed any
24
     lawsuits against themselves or any others who were responsible for that wrongful conduct
25
     to attempt to recover for Enphase any part of the damages Enphase suffered and will
26
     continue to suffer thereby. Thus, any demand upon the Director-Defendants would be
27
     futile.
28
                                                    58
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 1
           152. The Director-Defendants’ conduct described herein and summarized above
 2
     could not have been the product of legitimate business judgment as it was based on bad
 3
     faith and intentional, reckless, or disloyal misconduct. Thus, none of the Director-
 4
     Defendants can claim exculpation from their violations of duty pursuant to the Company’s
 5
     charter (to the extent such a provision exists). As a majority of the Director-Defendants
 6
     face a substantial likelihood of liability, they are self-interested in the transactions
 7
     challenged herein and cannot be presumed to be capable of exercising independent and
 8
     disinterested judgment about whether to pursue this action on behalf of the shareholders of
 9
     the Company. Accordingly, demand is excused as being futile.
10
           153. The acts complained of herein constitute violations of fiduciary duties owed
11
     by Enphase’s officers and directors, and these acts are incapable of ratification.
12
           154. The Director-Defendants may also be protected against personal liability for
13
     their acts of mismanagement and breaches of fiduciary duty alleged herein by directors’
14
     and officers’ liability insurance if they caused the Company to purchase it for their
15
     protection with corporate funds, i.e., monies belonging to the stockholders of Enphase. If
16
     there is a directors’ and officers’ liability insurance policy covering the Director-
17
     Defendants, it may contain provisions that eliminate coverage for any action brought
18
     directly by the Company against the Director-Defendants, known as, inter alia, the
19
     “insured-versus-insured exclusion.” As a result, if the Director-Defendants were to sue
20
     themselves or certain of the officers of Enphase, there would be no directors’ and officers’
21
     insurance protection. Accordingly, the Director-Defendants cannot be expected to bring
22
     such a suit. On the other hand, if the suit is brought derivatively, as this action is brought,
23
     such insurance coverage, if such an insurance policy exists, will provide a basis for the
24
     Company to effectuate a recovery. Thus, demand on the Director-Defendants is futile and,
25
     therefore, excused.
26
           155. If there is no directors’ and officers’ liability insurance, then the Director-
27
     Defendants will not cause Enphase to sue the Individual Defendants named herein, since,
28
                                                   59
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 1
     if they did, they would face a large uninsured individual liability. Accordingly, demand is
 2
     futile in that event, as well.
 3
            156. Thus, for all of the reasons set forth above, all of the Director-Defendants,
 4
     and, if not all of them, at least four of the Director-Defendants, cannot consider a demand
 5
     with disinterestedness and independence. Consequently, a demand upon the Board is
 6
     excused as futile.
 7
                                            FIRST CLAIM
 8                        Against the Individual Defendants for Violations of
                                   Section 14(a) of the Exchange Act
 9
            157. Plaintiff incorporates by reference and re-alleges each and every allegation set
10
     forth above, as though fully set forth herein.
11
            158. Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t
12
     shall be unlawful for any person, by use of the mails or by any means or instrumentality of
13
     interstate commerce or of any facility of a national securities exchange or otherwise, in
14
     contravention of such rules and regulations as the [SEC] may prescribe as necessary or
15
     appropriate in the public interest or for the protection of investors, to solicit or to permit
16
     the use of his name to solicit any proxy or consent or authorization in respect of any security
17
     (other than an exempted security) registered pursuant to section 12 of this title [15 U.S.C.
18
     § 78l].”
19
            159. Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides
20
     that no proxy statement shall contain “any statement which, at the time and in the light of
21
     the circumstances under which it is made, is false or misleading with respect to any material
22
     fact, or which omits to state any material fact necessary in order to make the statements
23
     therein not false or misleading.” 17 C.F.R. §240.14a-9.
24
            160. Defendants Haenggi, Kortlang, Mora, Kothandaraman, Malchow, Gomo, and
25
     Rodgers caused the 2023 Proxy Statement to be false and misleading by failing to disclose,
26
     inter alia, that: (1) the Company’s battery shipments to Europe and California had
27
     decreased; (2) Enphase’s battery deployment and adoption were experiencing a slowdown;
28
                                                   60
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 1
     (3) the Company was undergoing a longer transition period with NEM 3.0; and (4) Enphase
 2
     was experiencing a slower output of inverters manufactured by the recently-created U.S.
 3
     base manufacturing lines. As a result of the foregoing, the Company’s public statements
 4
     were materially false and misleading and/or lacked a reasonable basis at all relevant times.
 5
           161. Under the direction and watch of Defendants Haenggi, Kortlang, Mora,
 6
     Kothandaraman, Malchow, Gomo, and Rodgers, the 2023 Proxy Statement also failed to
 7
     disclose, inter alia, that: (1) though the Company claimed its officers and directors adhered
 8
     to the Code of Conduct, the Individual Defendants violated these policies either without
 9
     waivers or without such waivers being disclosed; and (2) contrary to the 2023 Proxy
10
     Statement’s description of the Board’s and its committees’ risk oversight functions, the
11
     Board and its committees were not adequately exercising these functions and were causing
12
     or permitting the Company to issue false and misleading statements.
13
           162. In the exercise of reasonable care, the Individual Defendants should have
14
     known that by misrepresenting or failing to disclose the foregoing material facts, the
15
     statements contained in the 2023 Proxy Statement were materially false and misleading.
16
     The misrepresentations and omissions were material to Plaintiff in voting on the matters
17
     set forth for shareholder determination in the 2023 Proxy Statement, including but not
18
     limited to the election of the Company’s directors.
19
           163. As a result of the material misstatements and omissions contained in the 2023
20
     Proxy Statement, Company shareholders reelected Defendants Haenggi, Kortlang, and
21
     Mora to the Board, thereby allowing them to continue breaching their fiduciary duties to
22
     Enphase.
23
           164. The Company was damaged as a result of the Individual Defendants’ material
24
     misrepresentations and omissions in the 2023 Proxy Statement.
25
           165. Plaintiff, on behalf of Enphase, has no adequate remedy at law.
26
                                       SECOND CLAIM
27              Against the Individual Defendants for Violations of Section 20(a)
28                                    of the Exchange Act
                                                  61
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 1
           166. Plaintiff incorporates by reference and re-alleges each and every allegation set
 2
     forth above, as though fully set forth herein.
 3
           167. The Individual Defendants, by virtue of their positions with Enphase and their
 4
     specific acts, were, at the time of the wrongs alleged herein, controlling persons of Enphase
 5
     and each of its officers and directors who made the false and misleading statements alleged
 6
     herein within the meaning of § 20(a) of the Exchange Act. The Individual Defendants had
 7
     the power and influence and exercised the same to cause Enphase to engage in the illegal
 8
     conduct and practices complained of herein.
 9
           168. Plaintiff, on behalf of Enphase, has no adequate remedy at law.
10
11                                   THIRD CLAIM
     Against the Individual Defendants for Violations of Section 10(b) and Rule 10b-5 of
12                                  the Exchange Act
13         169. Plaintiff incorporates by reference and re-alleges each and every allegation set
14   forth above, as though fully set forth herein.
15         170. The Individual Defendants participated in a scheme to defraud with the
16   purpose and effect of defrauding Enphase. Not only is Enphase now defending claims that
17   it violated Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, but
18   the Company itself is also one of the largest victims of the unlawful scheme perpetrated
19   upon Enphase by the Individual Defendants. With the price of its common stock trading at
20   artificially inflated prices due to the Individual Defendants’ misconduct, the Individual
21   Defendants caused the Company to repurchase more than 148,000 of its own shares at
22   artificially inflated prices, damaging Enphase.
23         171. During the Relevant Period, the Individual Defendants also individually and
24   in concert, directly and indirectly, by the use and means of instrumentalities of interstate
25   commerce and/or of the mails, engaged and practiced in a continuous course of conduct
26   designed to falsify the Company’s press releases, public statements made in conference
27   calls, and periodic and current reports filed with the SEC.
28
                                                  62
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 1
           172. The Individual Defendants employed devices, schemes and artifices to
 2
     defraud while in possession of adverse, material, non-public information and engaged in
 3
     acts, practices and a course of conduct that included the making of, or participation in the
 4
     making of, untrue and/or misleading statements of material facts and/or omitting to state
 5
     material facts necessary in order to make the statements made about Enphase not
 6
     misleading.
 7
           173. The Individual Defendants, as top executives and directors of the Company,
 8
     are liable as direct participants in the wrongs complained of herein. Through their positions
 9
     of control and authority as officers and directors of the Company, the Individual
10
     Defendants were able to and did control the conduct complained of herein and the content
11
     of the public statements disseminated by Enphase.
12
           174. The Individual Defendants acted with scienter during the Relevant Period, in
13
     that they either had actual knowledge of the scheme and the misrepresentations and/or
14
     omissions of material facts set forth herein or acted with reckless disregard for the truth in
15
     that they failed to ascertain and to disclose the true facts, even though such facts were
16
     available to them. The Individual Defendants were the top executives of the Company, or
17
     received direct briefings from them, and were therefore directly responsible for the scheme
18
     set forth herein and for the false and misleading statements and/or omissions disseminated
19
     to the public through filings with the SEC.
20
           175. By virtue of the foregoing, the Individual Defendants have violated § 10(b) of
21
     the Exchange Act, and Rule 10b-5 promulgated thereunder.
22
           176. Plaintiff, on behalf of Enphase, has no adequate remedy at law.
23
                                      FOURTH CLAIM
24             Against the Individual Defendants for Breach of Fiduciary Duties
25         177. Plaintiff incorporates by reference and re-alleges each and every allegation set
26   forth above, as though fully set forth herein.
27         178. Each Individual Defendant owed to the Company the duty to exercise candor,
28   good faith, and loyalty in the management and administration of Enphase’s business and
                                                   63
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 1
     affairs.
 2
            179. Each of the Individual Defendants violated and breached their fiduciary duties
 3
     of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.
 4
            180. The Individual Defendants’ conduct set forth herein was due to their
 5
     intentional or reckless breach of the fiduciary duties they owed to the Company, as alleged
 6
     herein. The Individual Defendants intentionally or recklessly breached or disregarded their
 7
     fiduciary duties to protect the rights and interests of Enphase.
 8
            181. In breach of their fiduciary duties owed to Enphase, the Individual Defendants
 9
     willfully or recklessly made and/or caused the Company to make false and/or misleading
10
     statements and/or omissions of material fact that failed to disclose, inter alia, that: (1) the
11
     Company’s battery shipments to Europe and California had decreased; (2) Enphase’s
12
     battery deployment and adoption were experiencing a slowdown; (3) the Company was
13
     undergoing a longer transition period with NEM 3.0; and (4) Enphase was experiencing a
14
     slower output of inverters manufactured by the recently-created U.S. base manufacturing
15
     lines. As a result of the foregoing, the Company’s public statements were materially false
16
     and misleading at all relevant times.
17
            182. In further breach of their fiduciary duties, the Individual Defendants failed to
18
     correct and/or caused the Company to fail to correct the false and/or misleading statements
19
     and/or omissions of material fact referenced herein, which renders them personally liable
20
     to the Company for breaching their fiduciary duties.
21
            183. In yet further breach of their fiduciary duties, during the Relevant Period, the
22
     Individual Defendants willfully or recklessly caused the Company to repurchase thousands
23
     of shares of its own common stock at artificially inflated prices before the fraud was
24
     exposed, while one of the Individual Defendants engaged in lucrative insider sales, netting
25
     proceeds of approximately $965,776.
26
            184. Also, in breach of their fiduciary duties, the Individual Defendants caused the
27
     Company to fail to maintain internal controls.
28
                                                   64
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 1
           185. The Individual Defendants had actual or constructive knowledge that the
 2
     Company issued materially false and misleading statements, and they failed to correct the
 3
     Company’s public statements and representations. The Individual Defendants had actual
 4
     knowledge of the misrepresentations and omissions of material facts set forth herein, or
 5
     acted with reckless disregard for the truth, in that they failed to ascertain and to disclose
 6
     such facts, even though such facts were available to them. Such material misrepresentations
 7
     and omissions were committed knowingly or recklessly and for the purpose and effect of
 8
     artificially inflating the price of Enphase’s securities.
 9
           186. The Individual Defendants had actual or constructive knowledge that they had
10
     caused the Company to improperly engage in the fraudulent scheme set forth herein and to
11
     fail to maintain internal controls. The Individual Defendants had actual knowledge that the
12
     Company was engaging in the fraudulent scheme set forth herein, and that internal controls
13
     were not adequately maintained, or acted with reckless disregard for the truth, in that they
14
     caused the Company to improperly engage in the fraudulent scheme and to fail to maintain
15
     adequate internal controls, even though such facts were available to them. Such improper
16
     conduct was committed knowingly or recklessly and for the purpose and effect of
17
     artificially inflating the price of Enphase’s securities. The Individual Defendants, in good
18
     faith, should have taken appropriate action to correct the scheme alleged herein and to
19
     prevent it from continuing to occur.
20
           187. These actions were not a good-faith exercise of prudent business judgment to
21
     protect and promote the Company’s corporate interests.
22
           188. As a direct and proximate result of the Individual Defendants’ breaches of
23
     their fiduciary obligations, Enphase has sustained and continues to sustain significant
24
     damages. As a result of the misconduct alleged herein, the Individual Defendants are liable
25
     to the Company.
26
           189. Plaintiff, on behalf of Enphase, has no adequate remedy at law.
27
                                        FIFTH CLAIM
28                  Against the Individual Defendants for Unjust Enrichment
                                                    65
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 1
           190. Plaintiff incorporates by reference and re-alleges each and every allegation set
 2
     forth above, as though fully set forth herein.
 3
           191. By their wrongful acts, violations of law, and false and misleading statements
 4
     and omissions of material fact that they made and/or caused to be made, the Individual
 5
     Defendants were unjustly enriched at the expense of, and to the detriment of, Enphase.
 6
           192. The Individual Defendants either benefitted financially from the improper
 7
     conduct, or received bonuses, stock options, or similar compensation from Enphase that
 8
     was tied to the performance or artificially inflated valuation of Enphase, or received
 9
     compensation or other payments that were unjust in light of the Individual Defendants’ bad
10
     faith conduct. This includes lavish compensation, benefits, and other payments provided
11
     to the Individual Defendants who breached their fiduciary duties to the Company.
12
           193. Plaintiff, as a shareholder and a representative of Enphase, seeks restitution
13
     from the Individual Defendants and seeks an order from this Court disgorging all profits,
14
     including from insider transactions, the redemption of preferred stock, benefits, and other
15
     compensation, including any performance-based or valuation-based compensation,
16
     obtained by the Individual Defendants due to their wrongful conduct and breach of their
17
     fiduciary and contractual duties.
18
           194. Plaintiff, on behalf of Enphase, has no adequate remedy at law.
19
                                       SIXTH CLAIM
20                  Against the Individual Defendants for Abuse of Control
21         195. Plaintiff incorporates by reference and re-alleges each and every allegation set
22   forth above, as though fully set forth herein.
23         196. The Individual Defendants’ misconduct alleged herein constituted an abuse of
24   their ability to control and influence Enphase, for which they are legally responsible.
25         197. As a direct and proximate result of the Individual Defendants’ abuse of
26   control, Enphase has sustained significant damages. As a result of the misconduct alleged
27   herein, the Individual Defendants are liable to the Company.
28
                                                  66
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 1
           198. Plaintiff, on behalf of Enphase, has no adequate remedy at law.
 2
                                     SEVENTH CLAIM
 3               Against the Individual Defendants for Gross Mismanagement
 4         199. Plaintiff incorporates by reference and re-alleges each and every allegation set
 5   forth above, as though fully set forth herein.
 6         200. By their actions alleged herein, the Individual Defendants, either directly or
 7   through aiding and abetting, abandoned and abdicated their responsibilities and fiduciary
 8   duties with regard to prudently managing the assets and business of Enphase in a manner
 9   consistent with the operations of a publicly held corporation.
10         201. As a direct and proximate result of the Individual Defendants’ gross
11   mismanagement and breaches of duty alleged herein, Enphase has sustained and will
12   continue to sustain significant damages.
13         202. As a result of the misconduct and breaches of duty alleged herein, the
14   Individual Defendants are liable to the Company.
15         203. Plaintiff, on behalf of Enphase, has no adequate remedy at law.
16                                    EIGHTH CLAIM
17             Against the Individual Defendants for Waste of Corporate Assets
18         204. Plaintiff incorporates by reference and re-alleges each and every allegation set
19   forth above, as though fully set forth herein.
20         205. The Individual Defendants caused the Company to pay the Individual
21   Defendants excessive salaries and fees, to the detriment of the shareholders and the
22   Company.
23         206. As a result of the foregoing, and by failing to properly consider the interests
24   of the Company and its public shareholders, the Individual Defendants have caused
25   Enphase to waste valuable corporate assets, to incur many millions of dollars of legal
26   liability and/or costs to defend unlawful actions, to engage in internal investigations, and
27   to lose financing from investors and business from future customers who no longer trust
28
                                                  67
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 1
     the Company and its products.
 2
           207. In addition, the Individual Defendants caused the Company to repurchase
 3
     thousands of shares of its own common stock at artificially inflated prices, thereby wasting
 4
     the Company’s assets.
 5
           208. As a result of the waste of corporate assets, the Individual Defendants are each
 6
     liable to the Company.
 7
           209. Plaintiff, on behalf of Enphase, has no adequate remedy at law.
 8
                                     NINTH CLAIM
 9     Against Defendants Kothandaraman and Yang for Contribution Under Sections
                            10(b) and 21D of the Exchange Act
10
11         210. Plaintiff incorporates by reference and re-alleges each and every allegation set
12   forth above, as though fully set forth herein.
13         211. Enphase and Defendants Kothandaraman and Yang are named as defendants
14   in the Securities Class Actions, which assert claims under the federal securities laws for
15   violations of Sections 10(b) and 20(a) of the Exchange Act, and SEC Rule 10b-5
16   promulgated thereunder. If and when the Company is found liable in the Securities Class
17   Actions for these violations of the federal securities laws, the Company’s liability will be
18   in whole or in part due to Defendant Kothandaraman’s and Defendant Yang’s willful
19   and/or reckless violations of their obligations as officers and/or directors of the Company.
20         212. Defendants Kothandaraman and Yang, because of their positions of control
21   and authority as officers and/or directors of the Company, were able to and did, directly
22   and/or indirectly, exercise control over the business and corporate affairs of the Company,
23   including the wrongful acts complained of herein and in the Securities Class Actions.
24         213. Accordingly, Defendants Kothandaraman and Yang are liable under 15
25   U.S.C. § 78j(b), which creates a private right of action for contribution, and Section 21D
26   of the Exchange Act, 15 U.S.C. § 78u-4(f), which governs the application of a private right
27   of action for contribution arising out of violations of the Exchange Act.
28         214. As such, Enphase is entitled to receive all appropriate contribution or
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 1
     indemnification from Defendants Kothandaraman and Yang.
 2
                                     PRAYER FOR RELIEF
 3
 4         FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor
 5   against all Individual Defendants as follows:
 6                (a)   Declaring that Plaintiff may maintain this action on behalf of Enphase,
 7   and that Plaintiff is an adequate representative of the Company;
 8                (b)   Declaring that the Individual Defendants have breached and/or aided
 9   and abetted the breach of their fiduciary duties to Enphase;
10                (c)   Determining and awarding to Enphase the damages sustained by it as a
11   result of the violations set forth above from each of the Individual Defendants, jointly and
12   severally, together with pre-judgment and post-judgment interest thereon;
13                (d)   Directing Enphase and the Individual Defendants to take all necessary
14   actions to reform and improve Enphase’s corporate governance and internal procedures to
15   comply with applicable laws and to protect Enphase and its shareholders from a repeat of
16   the damaging events described herein, including, but not limited to, putting forward for
17   shareholder vote the following resolutions for amendments to the Company’s Bylaws
18   and/or Certificate of Incorporation and the following actions as may be necessary to ensure
19   proper corporate governance policies:
20              1. a proposal to strengthen the Board’s supervision of operations and develop
21                 and implement procedures for greater shareholder input into the policies
22                 and guidelines of the Board;
23              2. a provision to permit the shareholders of Enphase to nominate at least four
24                 candidates for election to the Board;
25              3. a proposal to ensure the establishment of effective oversight of compliance
26                 with applicable laws, rules, and regulations;
27                (e)   Awarding Enphase restitution from Individual Defendants, and each
28   of them;
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 1
                  (f)   Awarding Plaintiff the costs and disbursements of this action, including
 2
     reasonable attorneys’ and experts’ fees, costs, and expenses; and
 3
                  (g)   Granting such other and further relief as the Court may deem just and
 4
     proper.
 5
                                   JURY TRIAL DEMANDED
 6
     Plaintiff hereby demands a trial by jury.
 7
 8
     Dated: July 16, 2024                   Respectfully submitted,
 9
10                                          THE BROWN LAW FIRM, P.C.
11
                                            /s/_Robert C. Moest_
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                                                        VERIFICATION

                    I, Giovanni Ibarra, am a plaintiff in the within action. I have reviewed the allegations made
            in this Shareholder Derivative Complaint, know the contents thereof, and authorize its filing. To
            those allegations of which I have personal knowledge, I believe those allegations to be true. As to
            those allegations of which I do not have personal knowledge, I rely upon my counsel and their
            investigation and believe them to be true.

                     I declare under penalty of perjury that the foregoing is true and correct. Executed this
           15__ day of July, 2024.




                                              ______________________
                                              Giovanni Ibarra
